Case 3:05-cV-01945-|EG-RBB Document 35 Filed 04/09/07 Page|D.lOSO Pagelof47

EXHIBIT AA

Case 3:05-cV-01945-|EG-RBB Document 35 Filed 04/09/07 Page|D.lO§;b 6l§age 2 of 47

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2 AMERICAN ARBITRATION ASSOCIATION

3 --------------------------------------- X

4 AMERICAN INTERNATIONAL SPECIALTY

5 LINES INSURANCE COMPANY,

6 Claimant-Counter Respondent,
7 ~ against

8 THE UPPER DECK COMPANY, RICHARD P.

9 MCWILLIAM &nd the MPR REVOCABLE TRUST,

10 RespondentS-Counter Claimants.
11 --------------------------------------- X
12 , 780 Third Avenue
_ New York, New York
13
November 2, 2006
14 _ 10:04 a.m.

15 BEFORE:

 

 

 

16 JOHN F. BYRNE, Chairman
17 STEPHEN D. KRAMER, Arbitrat©r
18 \CHARLES J. MOXLEY, JR., Arbitrat©r
19
20
21 STACEY E. RAIKES, CSR Reporter
22
23 ELLEN GRAUER COURT REPORTING CO. LLC
126 East 56th Street, Fifth FlOOr
24 " New York, New York
212-750-6434
25 Ref: 82084
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Case 3:05-cV-01945-|EG-RBB Document 35 Filed 04/09/07 Page|D.lOSZ PageSoM?

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AMER|CAN ARB|TRAT!ON ASSOC|ATION
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AMER|CAN |NTERNAT|ONAL SPEC|ALTY
LlNES lNSURANCE COMPANY,

C|aimant-Counter Respondent,

- against -

THE UPPER DECK COMPANY, RICHARD P.
McW|LL|AM and the MPR REVOCABLE TRUST,

Respondents-Counfer C|aimants.
_____________________________________ X

780 Third Avenue

New York, New York

November 2, 2006
10:04 a.m.
B E F O R E:
JOHN F. BYRNE, Chairman
STEPHEN D. KRAMER, Arbitrator
CHARLES J. MOXLEY, JR., Arbitrator

STACEY E. RA|KES, CSR Reporter

ELLEN GRAUER COURT REPORTING CO. LLC
126 East 56th Street, Fifth F|oor
New York, New York
212~750~6434
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AP PEARAN C ES; (Cont'd)
ALSO PRESENT:

NELSON KWONGl lnfographics
SARAH THO|V|PSON, Para|egal
RAYMOND F. HAMPEL, A|G

R|CHARD McWILL|AM, Upper Deck

ROBERTJoNES
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REDGE BENDHE|M 1189
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Page 1068 - 1071

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.lOSS Page4of47

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CHA|RMAN BYRNE: Good morning,
everyone.

What we would like to do this
morning or today just let me give some
guidelines My best guess is, and you
don't have to use it, you may go a couple
minutes longer or a couple minutes
shorter, but l would like to devote an
hourto claimants side of the case. Take
our morning break. Devote about an hour
to respondent's side of the case. That
should bring us somewhere between 12:15
and 12:30, but by 12:30, lwant to take
our lunch break, reconvene by 2 o'clock,
at which time we'll establish the
connection, et cetera, take the testimony
of Mr. Bendheim, which the more lthought
about it at least if it takes more than an
hour and 15 minutes, an hour-and-a-half, l
think both sides we're doing something
wrong. Fifteen minutes thereafter, to
make sure we've dotted the ls and crossed
the Ts, and we adjourn subject to the

submission schedule

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PROCEED|NGS

When we were off the record and
after we had adjourned on Tuesday, l asked
Ms. Thompson to be responsible for the
exhibits and she foolisth agreed And
what she is going to do is take the
arbitratofs exhibits, make sure all of
the exhibits are in the binders, whether
we had them loose leaf or we have extra
copies or whatever, but that all of the
exhibits that we dealt with or didn't deal
with, but that were introduced into
evidence are in the binders, and as l
recall, we only had two additions, two
evidentiary additions l\/laybe three. And
then have them sent to the panel -- what
date did l set?

MS. THOMPSON: You set Friday.

CHA|RMAN BYRNE: Friday of next
week.

MS. THOMPSON: Right.

CHA|RMAN BYRNE: Okay. That's still
doable.

MS. THOlVlPSON: Uh-huh.

CHAlRMAN BYRNE: Okay, so they will

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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be sent to us, not necessarily by
delivery, but they will be sent to us by
November10. All right, lwanted you to
be aware of that

ls there anything else, any other
housekeeping that we need to discuss
before we go forward with some argument or
give and take? Gentlemen? No, yes?

MR. KUSHNER: No.

MR. WAHLQU|ST: l don't think so,

CHA|RMAN BYRNE: No, all right.

l am going to state on the record
that the panel has not conferred prior to
this morning how this morning would go and
Mr. Moxley and Mr. Kramer, however, know
my style and my style is feel free. And
if there are any questions whatsoever for
any member of the panel that you have at
any time, l warn the parties that l
encourage Mr. Moxley and Mr. Kramer that
we‘re past the procedural side. lt's
substance Ask away, all right? And l
mean that, so counsel.

MR. KUSHNER: Mr. Stroili and l are

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PROCEEDlNGS

going to divide up our argument. He'll
handle the insured tax loss issue and the
breach of warranty issue. l'll handle the
exclusions 3H and 3A issues. He'll come
back with the charitable -- well, the
condition precedent argument and the bad
faith argument, and if there's time, l'll
go into subrogation which, frankly, l
would preferto delay until we get
Mr. Bendheim's testimony

CHAlRMAN BYRNE: Sure.

MR. KUSHNER: But if necessary, l'll
go into it.

CHA|RMAN BYRNE: Surely.

MR. STROlL|; l'd like to begin,
lest l forget to do so later on, to thank
the panel for your questions l think
they were very good questions throughout
the arbitration. l'm reminded of a scene
from the movie about the Holy Grail with
indiana Jones where the old knight played
by -- l think it‘s Lawrence Olivier tells
Harrison Ford when he chooses the

carpenter cha|ice, you chose wiselyl l
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Page 1072 - 1075

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1084 Page50147

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believe both sides can honestly say that
we chose wise|y.

CHA|RMAN BYRNE: l appreciate that
and l assume you were not referring to age
of the "old knight".

MR. STRO|LI: No, no, not fora
23-year old, no.

Given my annoying habit, however, of 1
always looking -- keeping one eye to the
worst case scenario and have to take that
last nice statement l made and say that
subject to my right later on to totally
withdraw it, but -»

CHAlRMAN BYRNE: Fair enough.

MR. STRO|L|: l'm just kidding.

l also want to thank the other side
in this matter. After reviewing their bad
faith expert's opinionl lwas a bit afraid
that it could get nasty and that they
would come at us with cleavers, but they
proved to be gentlemen and very
professional and my only subject thereto
is Mr. Howe||'s closing, which l don't

know what it‘s going to be, and to --

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PROCEED|NGS

MR. HOWELL: Softbal|s.

MR. STRO|Ll: And to the fact that
but for Mr. Howell, l probably wouldn't
have to give a closing argument, but other
than that, it's been great.

What is the crux of the matter
regarding coverage? At least for us. lf
you put up Exhibit 135, which l believe is
a June 12, 2002 letter in which counsel
for AlG is simply asking after we've had
this voluntary disclosure statement in
February of 2002, tell us what's going on.
Then if you would just put up Exhibit 175.
And this is a letter, l think in April of
2003, again, basically asking tell us
what's going on. Sandwiched in between
these two letters is Exhibit 162, which is
the share purchase agreement, which is
entered into without notifying much less
asking for AlG's consent.

lt is our contention and in point
one of our brief that we did not insure
that and it's not just the fact that it

doesn‘t provide for fair market value_

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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Appraisal, although that is certainly key,
as l believe the Chairman pointed out on
Tuesday, it‘s also from our side, a
question of economic substance and what
the exhibits to the policy did not
contain.

lf you look at Exhibits 159 -» and l
won't dwell on them -- and Exhibit160, it
is certainly our contention that we did
not insure that. Any coverage lawyer or
claims person worth his or her salt, when
they see these two letters would raise
coverage arguments That's my opinion
based on my experience

CHA|RMAN BYRNE: ln terms of-- l
understand the thrust l think l
understand the thrust of what AlSLlC did
not cover. And l think l understand that
the argument is there are a number of
exclusions, issues, procedures that are
directed at what actually happened, and
coming to the conclusion you're asking us
to come to, okay, AlSL|C did not cover

what happened,

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The argument should be raised then
what did A|SL|C cover at least for
comparative informational purposes, and if
it's you who can address that, fine, or
Mr. Kushner, that's fine, too, but l
personally am getting so bogged down as to
what didn't cover that l'm afraid l'm
losing site of what was the coverage

MR. STRO|L|: Okay, lthink l can
touch upon it.

CHA|RMAN BYRNE: Appreciate it.

MR. STRO|L|: And l'll put in it
terms of the issues you presented to us, l
think it was the first week, which is what
was covered, whether what was covered
happened and why was the claim denied?
For us it‘s on this issue at least, point
one, the insured tax loss issue, you don't
get past number one. This was not
covered, and in that regard, much
attention has been paid in this
arbitration to the shareholder’s
agreement, but l would -- and this is how

l answer your question: At least as
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Page 1076 - 1079

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1085 Page60147

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important and perhaps more important
because if you look at the definition of
opinions in the policy, the KPMG opinions
are defined as deemed part of the policy,
which those words mean something They
mean the provisions of a KPMG opinion are
the provisions of the policy. And if we
look at, l think, KPMG opinions are
Exhibit A to the policy, what is key for
me in terms of the answer to your question
is the charitable contribution opinion
which is the second opinion which starts
about five pages in. Next page.

Then on page seven, l'm sorry, page
seven of that opinion, if you could circle
the second paragraph, fair market value
test, thank you, what draws my attention
to the KPMG opinion is this paragraph here
because what it says is that the purchase
price for any redemptionl any redemptionl
is fair market value measured at the time
of redemption,

Now, KPMG opinions also talk about

the right offirst refusal, which is fine

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PROCEED|NGS

by AlG, because in that case, you have a

~ willing buyer and a willing seller and the

willing buyer is a third party, and in

that case, you get to the very definition

of fair market value, That's not a
problem. But in our view, both under the
insured tax loss argument and breach of
warranty argument, critical assumption and
foundation of the policies that there be,

if there is a redemption, that there be

fair market value. No other means of
redemption is contemplated in the KPMG
opinion_ An ad hoc, willy nilly

transaction is certainly not contemplated
because if you go to the very next
sentence there, it tells us there are very
serious consequences if fair market value
is not paid upon redemption, Namely, the
dreaded second class of stock rule which
could result in loss of subchapter S
status, which both sides were afraid of.
And if you look at Exhibit 131, which is
the voluntary disclosure statement signed

by Mr. McWilliam in February 2002, the

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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only option set forth in the voluntary
disclosure statement regarding transfers,
sales, et cetera is if you go to the
bottom of the page, l think, is the option
of the put option, which is basically
redeem the shares at fair market value
subject to an independent valuation firm
conducting an appraisal, which is that
objective piece of paper that Mrs. Burke
testified to.

Also, in the KPMG opinions, and l
believe it‘s in the first opinion on the
breach of warranty, page four, appraisal
is key because without an appraisal, you
have a real problem coming within the safe
harbor protection on the second class of
stock rule, and l think the words in the
KPMG opinion are you need a valuation that
is not substantially in error, performed
with reasonable diligence and l believe
even Mr. Mathers conceded that you would
want an appraisal to get within that safe
harbor rule.

CHAlRMAN BYRNE: What are we

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PROCEED|NGS
supposed to do with Mr. Mathers' opinion
that even if you did ~- l'l| call it the
KPMG deal -- it wouldn't fly, and l'm
oversimplifying it in a way, but does it
remain your position that if Upper Deck
did the KPMG opinion, basically, lmean,
at its core, what was insured was the KPMG
deal not flying so that Mr. Mathers'
testimony may be accurate that the KPMG
wouldn't fly, but that's what was insured,
the KPMG deal.

Now think about it. l don't mean to
put you on the spot, but l think that l
would like you to address that in your
written -- even if you don't care to
address it now, it‘s fine with me.

MR. STRO|L|: And l think it depends
on which point in our brief you're talking
about because there are different
standards, and without trying to infringe
too much on Mr. Kushner‘s argument

CHAlRMAN BYRNE: Assume you get past
the conditions precedent. Assume you get

past the exclusions Assume you get past
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Page 1080 - 1083

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1086 Page7of47

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the bad faith or assume that we don't buy
them, okay? You're now looking at the
core coverage component of this policy,
with all conditions precedent being met.
lt does back to my original question:
What was covered the KPMG deal? lf the
KPMG were and there was no tax loss, God
bless. But if the KPMG deal didn't fly,
ie, the KPMG deal not working is what
AlSLlC insured.

MR. STROlLl: What the policy
covered is ~ l don't know if you want to
call it the KPMG, but what it covered is
the transactions set forth in the exhibits
to the policy and which basically is the
transactions set forth in the KPMG
opinions as implemented by the
shareholdei‘s agreement

CHA|RMAN BYRNE: When l say the KPMG
deal, l don't mean KPMG saying don't worry
about it, it‘s the same for the $2 million
dollars l'm not talking about that as
the KPMG deal. l’m talking about the
intended KPMG SC squared transaction, the

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PROCEED|NGS

substance of which and the workings of
which were annexed to the policy.

MR. STROlLl: |would certainly
agree that that is what was insured with
the caveat that you don't insure a generic
transaction, you insure a transaction as
actually carried out, so you've got to
look at the fundamental principles

CHA|RMAN BYRNE: You are very -~
you're a very careful lawyer and l truly
appreciate the reservations But you also
have to keep in mind that-- and this goes
to everybody ~- somebody‘s going to be
unhappy with our decision. We understand
all your reservations l trust us before
l trust a federal judge sitting on a
motion to vacate or to conHrm. So, l
mean, sometimes we are all going to ask
you bottom line questions We know all
the reservations

MR, STROlLl: Yeah, and l understand
what you're saying, and as l remember the
question, you have to assume that the

exclusions don't apply, so we're not

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Nov 2 arb hearing 11/2/2006 10:04:00 AlV|

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dealing with arising out of language. l
take it you're also assuming that we're
not talking about breach of warranties,
which you have a little different
standard

CHA|RMAN BYRNE: Right. Right.

MR. STROlLl: Okay. Well then
really the heart of the matter for us in
the policy is two places, dehnition of
insured tax loss There's an insured tax
event, which we contend has to be a
notice, specific notice, to Upper Deck as
provided in section 6A of the policy, but
assuming you have an insured tax event,
you don't have an insured tax loss unless
you could prove it is as subject to the
terms conditions and exclusions

Now we're not just talking
exclusions, we're talking terms and
conditions and when you make the KPMG
policies deemed part of the policy, those
conditions of fair market value,
appraisal, donative intent all become

conditions of the policy, and that's the

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PROCEED|NGS

heart of point one of our argument

CHA|RMAN BYRNE: And l'm not trying
to turn either counsel into a expert nor
am l eliciting expert opinion or not even
practice opinion. Here's the scenario to
chew on. |ri August, September, October,
November, December 2002, Upper Deck goes
to you or somebody on your behalf, your
meaning AlSL|C's behalf, l got to get out
of this and l gotta know -- l'm going to
get killed here. l don't know if it
happened to you, AlSLlC, but as far as l'm
concerned, l got sold a bill of goods by
KPMG or whatever and l am now in the
middle of a mess. What am l supposed to
do? Would that have made any difference
to AlSLlC and how, if at all, would that
have kicked in or not kicked in, you know,
conditions precedent exclusions,
whatever? l mean you guys have been
dealing with insurance companies for a
long time. What would it make a
difference legal|y, do you think?

MR. STROlLl: We|l, it would have

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Page 1084 - 1087

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1087 Page80147

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made all the difference to AlG if instead
of consulting Mr. Friedman on whether the
transaction would affect the insurance
policy, Mr. McWilliam had picked up the
phone and consulted AlG. At that point,
we would have become true partners in
either defending the tax plan in tax court
or looking at a possible settlement but
at that point, we would have been on the
same page. A lot of our coverage
arguments would have fallen because you
would have fulfilled your duty under the
contract

When they did the deal as they did,
without consulting us, by us that means
the collective we.

CHA|RMAN BYRNE: l, in fact, have a
take home, so l can say we, but you guys
can use the collective we.

MR. STROlLl: That's where the
problem is because while, frankly, while
AlG insured the bats, the balls and a lot
of new fang|ed products that other

insurers won't, we do not insure ad hoc,

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PROCEED|NGS
willy nilly transactions And if you had
come to us and asked us our consent to
that transaction as it was structured, we
would have given you some different advice
as to how you can make it foolproofl gets
an appraisal, l mean, your company's
doing so well. How much is an appraisal
going to cost? lt's much safer to do the
appraisal, for instance. So it would have
made all the difference to us. Of course,
the transaction, if we both agreed that
the best course of action is to defend it
in tax court, we are defending the
transaction that's set forth in the policy
and l understand the point of your
question well Mr. Mather would say you're
in a losing battle.

CHA|RMAN BYRNE: lt's a waste of
time.

MR. STROlLl: Exactly. And l
understand that argument and you have the
arguments of the Burkes in contrast to
that and Nlr. Kushner will handle that

aspect But l would like to point out one

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Nov 2 arb hearing 11/2/2006 10:04:00 Al\/l

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thing there and that is under the economic
substance doctrine, you look at the facts
and l think even the lRS coordination
papers says you have to do that and l know
Mr. Kushner will touch on this, but
arising out of language, as my
understanding of the case, is all that
means that it doesn't mean any speciHc
causation test and it‘s not proximate
causation. lt's simply there has to be
some link between the matters set forth in
the exclusion and the injury. And if
you're talking about economic substance,
there has to be a link because it looks
like the facts, and l think as Mr. Mather
admitted on cross, one of the key facts
the lRS would have had to look at and the
tax court or the district court would have
had to look at is the December 2002
transaction Having said that--

CHA|RMAN BYRNE: Well, l mean, just
following the same line in terms of
becoming partners and without regard to

the actual outcome, and l know this is

1090

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clearly subjective, but l got the sense
from your argument and some of your
witnesses that getting information was
like pulling teeth, that process, the
pulling teeth processl was making it
worse. With all due respect to former
President Clinton, l'm not going to get
into what it was, but things were getting
worse. Am l getting the right feel of the
testimony in that regard? l'm not saying
there was a consequence to it, but the
hairs on the back of-- the collective
hairs on the back of AlSLlC's head were
tingling away. What‘s going on here?

MR. STROlLl: l definitely think in
terms of the reaction of the insurer, if
you wait -- I mean, the initial failure to
disclose is bad enough, but if you wait
until Aprii, l think it was March 25, 2004
in response to a simple question, what's
going on with the redemption of shares and
then not until that point do you tell us,
and by the way, we already redeemed these

shares almost two years ago, that makes it
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Page 1088 - 1091

Case 3:05-cV-01945-`lEG-RBB Document 35 Filed 04/09/07 PagelD.1088 Page90147

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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worse and l'm more talking about not how 2 Whether it was -- if it were $2 million,
coverage is determined under the policy, 3 it's 33 times too much, rough numbers and
but really what you call the dance. 4 if it's $11 million, it's six times too
CHA|RMAN BYRNE: That's what l was 5 much. Too much. When does it become too
getting at. 6 much? Did AlSLlC insure a product? Did
MR. STROlLl: lt does affect the 7 AlSLlC insure a transaction, the KPMG
dance. And l think there's evidence of 8 transaction as contemplated? That could
that because until that happened in March 9 only work if the projections didn't go up.
of 2004, Orrick and AlG were pretty much 10 Forget Yugio. The Kushner trading card
on the same page They had both exchanged 11 series was signed on December 15 and went
lDRs and responses and they were working 12 into production in '03 before the put had
to try and defend this thing as best both 13 to be put, 90 percent of the income would
parties could in district court and that 14 still bel at least up until that point,
was the plan at the time, 15 it‘s still going to be attributed to the
And then they had that meeting out 16 tax payer, not Austin Firefighters Fund.
in San Francisco in, l think it was 17 l mean, did AlSLlC insure a deal that
April 8 of 2004, and at that point, you 18 would only work under certain
know, we're still trying to work together, 19 circumstances? Or are you prepared to
defend the thing iri tax court, but then we 20 say, for all intents and purposes, Byrne,
find out, you know, about Yugio for the 21 it doesn't make any difference We
first time and for the first time we find 22 insured what we insured. We were willing
out that, you knowl the projections you 23 to let the chips fall where they may. And
sent us were way out of whack and our 24 if it triggered coverage it triggered
interests are not going to be aligned and 25 coverage Do’you see where l'm going?
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PROCEED|NGS 1 PROCEED|NGS
that creates an interest on your behalf to 2 MR. STROlLl: l think so. And l
ultimately sue us for bad faithl which is 3 think that last statement is pretty
what happened, so it does make a 4 accurate lf l can try and use an
difference 5 analogy, regardless of whether the tax
CHA|RMAN BYRNE: All right. You 6 plan would have worked, wouldn't have
threw in Yugio. l think my uneducated in 7 worked, whether KPMG sold us both a lousy
non-insurance law reaction is, oh, yeah, 8 good, we insured a specific transaction
you did the deal almost two years ago and 9 with certain parameters lt's like where
now you're talking to us? That the event, 10 you insure a specihc, well-dehned
the event was the insured taking it upon 11 property, and without knowing home
itself to do something, to do it and then 12 insurance policies, l'm going to take the
work backwards Try to defend what was 13 risk. Okay, you insured a horne which has
done l guess, you know, at least my 14 gone through rigorous safety inspection,
reaction to the projections is a little 15 which would have appreciated 500 percent
bit of ambivalence. They were what they 16 in value except for the fact that in the
were l understand the argument l 17 intervening two years, the insured tore
understand the representation argument 18 down the house, replaced it with a shack
But that gets me back to the deal, 19 built in ad hoc, willy nilly fashion.
Mr. Stroili, Mr. Kushner. lt's like, hey, 20 lt's our contention that it's no longer
if Mather is right, and l'm not saying he 21 the house insured
is, but if Mather is right, the deal you 22 CHA|RMAN BYRNE: Sounds like my
"insured" didn't have a chance in hell if 23 second wife, but that‘s okay,
the disparity between the contribution and 24 MR. STROlLl: And that's where you
the sheltering of income was too great 25 point to in the policy other than insured
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Page 1092 - 1095

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1089 Page 10 0147

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tax loss detinition, which incorporates
the KPMG opinion, it's that hrst sentence
of the policy, and reliance upon the
documents and representations made, we are
providing to you this very unique, l
guess, Mr. Cotkin calls it a niche form of
insurance, which is not only laser shot
with respect to the risks which is what
they understandably focus on because under
their argument if you have an insured tax
event, bingo, that’s the end of the story.
We say wait, got to go to the insured tax
loss And the insured tax loss, in turn,
you got to go to the KPMG opinions And
if you can tell us, matching them up side
by side, that this share purchase
agreement is somehow contained in that
KPMG opinion, all power to you. l don't
see it. lt's not what we insured

CHA|RMAN BYRNE: All right.

MR. MOXLEY: Let me pick up on that
line of discussion. l understand that in
a sense, in a broad, conceptual sense, the

first issue is how one interprets the

1096

PROCEEDlNGS

documents And l understand your position

that the documents -- and you pointed us

to specific language in some of the
exhibits that you referenced -- l
understand your position that the policy
documents required fair market value
whether because of an appraisal or a right
ofhrst refusal. And lunderstand Upper
Deck's argument to the contrary, that the
policy documents can be read more broadly,
and so that's a question we have to
decide, right? |f they‘re right that you

can read the policy documents broadly,
then as you say, this transaction was
covered, right?

MR. STROlLl: Right.

MR. |VlOXLEY: lf you can’t, then you
have to go to the next level and l'm not
sure you do it in the same way, but seem
to get there and the Chairman seemed to
be, you know, in effect, addressing this.

ls it fair to say that the next
level -- let me put it this way: A way of

looking at the next level of analysis is

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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to say okay, if the panel finds in your
favor in terms of interpreting the
documents and says, you know, the document
specifies a so-ca||ed generic deal and
that provides for fair market value,
that's implicit in the transaction and the
KPMG opinions that are incorporated in the
policy and so forth. lf we say that, then
one way of looking at it is we then ask,
and l'll put it this way so you could tell
me what l'm missing. l think this line of
analysis misses a bunch of policy
arguments that you're making, but one way
to look at it would say, okay, lfthe
policy required fair market value and the
like, then you have to sayl okay, would
the generic transaction, you know, the
what we would have determined was covered
by the policy, would that have worked or
not? And Mr. Mathers said well, it
wouldn't have worked. lt wouldn't have
worked, so even if they had done it
exactly in the -- exactly with an

appraisal or right of first refusal, that

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PROCEED|NGS
wouldn't have worked. Why isn‘t it the
case that if the generic transaction would
not have worked tax wise, why isn‘t it
then the case that, as a matter of
causationl the deviation that we have
found that they made from what it was
supposed to be didn't have any causative
effect and so why shouldn't our analysis
be well, you know, if the generic deal
would not have worked, then there's
coverage because the deviation doesn't
make any difference?

And on the other hand -- why don't
you answer that and then l have another
level of question l would like for you to
address

MR. STROlLl: Under point one,
insured tax loss, it's our position it
wouldn't matter. You don't need causation
because you don't get to point number one.
lt's not what was covered

With respect to the breach of-- l'm
sorry. With respect to the exclusions,

the arising out of language especially
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Page 1096 - 1099

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.1090 Page 110147

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the shareholder amendment exclusion,
arising out of language at least in New
York and |'ve also looked at Ca|ifornia,
there‘s been a recent case on it, it says
the same thing. lt's not causation
analysis in that sense And l saw the
arbitrators and the experts struggling
with this question, well, would this
transaction have succeeded and Mrs. Burke
said 60 to 70 percent and Mr. Burke said
well if you throw in the wild card of the
KPMG investigation maybe it goes down to
50 percent and Mr. Matters said 0 percent
but all that ~

CHA|RMAN BYRNE: No, in fairness, he
said 2 percent

lVlR. STROlLl: Two percent, okay.

MR. MOXLEY: One-and-a»half to two
is the variation range

MR. STROlLl: But l was sitting here
wondering why is everybody struggling with
this question as framed because it seemed
like you’re over-proving the standard

The standard is arising out of language

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And with respect to the breach of
warranties, it's not even arising out of

language All you have to show is that it

b wasn't a collateral risk, it was a primary

risk.

And the other point | would like to
bring up, and l don't know if this is
relevant to the question or not, but you
had a discussion which l thought was very
interesting l think it was at page 626
of the transcript You had a discussion,
lthink it was with Mr. Burke Basically
the issue of illusory coverage at least
from my understanding the insurer's point
of view. ln other words, it's a free
country. You look at the shareholder's
agreement Nothing in the shareholder's
agreement prohibits Upper Deck from doing
anything they wanted. That's a very
dangerous argument for Upper Deck. And l
don't know if they've made it yet, but
it's a dangerous argument They're better
off making their section one argument

which, to me, is grammatical|y absurd, but

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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okay.

The problem with that argument is
there‘s a warranty in the policy which
says you could not compel redemption If
we're talking a free country and Upper
Deck can do whatever they want, then
subsumed within that would be the ability
to use coercion and thereby breach the
warranty.

See, when we put this KPMG opinion
and attached it to the policy, we did it
to prevent that very thing because without
being able to rely on the assumption of
fair market value and independent
appraisal, we go in the never neverland,
the free country where anything can happen
and that's why you put that representation
in there Upper Deck cannot coerce the
irefighters to redeem its shares And l
think an argument at least could be made
here that we don't have to prove that it
did happen, we only have to prove that it
could have happened,

l think an argument could be made,

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despite Mr. Stefka's testimony that it did
happen because what happened is the very
next day they got -- after they got the
December 9 letters one of which says any
delay or whatever is going to cause you
problems they approved the transaction,
and if you read the minutes, it says they
approved the transactions based on the
information provided, which we know was
incomplete information and |would suggest
misleading information So l believe
coercion did happen because they were told
we got to get this done by the end of the
year, we're under a lot of pressure, give
us an answer, and by the way, your answer
has got to be what we say it is.

CHA|RMAN B¥RNE: Assuming, and l
know Mr. Moxley has a follow-up question,
but l'm lazy. l don't want to try a
coercion case l don't want to try an
agency case l don't want to test the
validity ofwhat could be called instead
of coercion a subsequent KPMG fairness

opinion to the extent that KPMG
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Page 1100- 1103

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.lOQl Page 12 0147

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participated in the negotiation with the
firefighters fund. Oh, come on,
Mr. Stroili. Why do l have to do this
like a damn fraud case? Are you
suggesting l have to or is there another
way -- or is it easier? ls there an
easier standard on that part of the case
because l'm drawing adverse inferences or
reverse inferences and l got enough to do
whatever l want with it,

MR. STROlLl: Well --

CHA|RMAN BYRNE: Based on your broad
arising out of.

MR. STROlLl: Right.

CHAlRMAN BYRNE: l mean, that's like
a broad arbitration clause.

MR. STROlLl: Yeah, lthink there is
an easier way. All you have to show is
that -- to me, the easiest out you have is
exclusion 3H. Doesn't require that much
work.

CHA|RMAN BYRNE: l'm going to write
that down because you know l'm lazy.

MR. STROlLl: Because -- and

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PROCEED|NGS
Mr. Kushner is supposed to address this

CHA|RMAN BYRNE: And he will.

MR. STROlLl: But the reason why
it's easy it because it‘s so plain on its
face lt's the first on AlG spotted
because it's plain on its face You amend
the shareholder's agreement and if you
look at provision 3.5 of the share
purchase agreement to me, that's what it
says Plain reading cf it.

CHA|RMAN BYRNE: Okay.

MR. MOXLEY: l'm sorry, but don't
you end up, l mean, l'm still back on my
original question, and in light of the
Chairman's question and your comment to
it, l don't understand how you can say
that if there was this deviation, then if
l understand the argument the argument is
that the laws came out of the deviation,
right? l mean that's the point. lt arose
out of it. And not out of the kind of
transaction that was covered, but how does
that, you know, conceptually, how should

we assume that should be analyzed? Should

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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that be analyzed in the context of how the
circuit couit would be reviewing what a
tax court or a district court did, and
doesn't the question then become how do we
think the court would look at that? Would
the court say? Okay, does this problem
arise out of the deviation or does it
arise out of the fact that the so-called
generic deal didn't work anyhow, and l'm
not saying it didn‘t, but for this
level --

CHA|RMAN BYRNE: ln other wordsl do
we have to make a tax ruling? l think
that, in a way, is what Mr. Moxley is
asking.

MR. MOXLEY: Right, and isn't that
what it comes from? l mean, how can we
say it arose out of the deviation, if we
were also to have concluded the generic
deal wouldn't have worked, if we were to
see it that way?

MR. KUSHNER: Can l get into this?

MR. STROlLl: Yeah, lthink l hand

it over to Mr. Kushner at this point

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because l've spent too much time

CHA|RMAN BYRNE: Mr. Stroili, thank
you very much.

MR. KUSHNER: l‘ve taken my notes
and l’m throwing them in the wastebasket.

CHAlRMAN BYRNE: No, please, and l
apologize and l assure you that if there
is anything you want to bring to our
attention, remember, it‘s not just now,
it's also in your written, please

MR. KUSHNER: We're benefitting very
much from the questions There's no doubt
about it.

l suggest the issue isn‘t under the
exclusion now, which is 3H, whether the
settlement liability arose out of the
deviation in the terms you're putting it
because that's causation Was there a
connection between the settlement
liability and the deviation'? Was there a
link between the two? lf this were an SEC
case, we'd be much better off because we
he'd the SEC oomplaint, the SEC findings

and of course the consent judgment There
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Page1104-1107

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.1092 Page 13 0147

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is no lRS complaint There's a generic,
general notice way back then, but there is
an lRS coordinated paper which Ms. Burke
said is intended to guide the agents in
their development of the facts.

l don't think there‘s any doubt in
this case that the extensive development
of the facts was important to the lRS.
lt's in that paper. lt's something that
they developed through information
document requests We can look at the
document requests and look at the
responses There's no doubt that every
single document you've seen on the share
purchase agreement was produced to the
|RS.

MR. MOXLEY: Excuse me, but doesn't
that line of analysis not work for you?

MR. KUSHNER: Why.

MR. MOXLEY: Because if you're going
to look at it from the perspective of how
the lRS looked at, the lRS is of the view,
obviously, he stated that the generic deal

didn't work,

1108

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MR. KUSHNER: l'm not trying to read

the lRS's mind. Far be it from me to do

'it What l am saying is look at this

objectively. The lRS, when it resolved to
settle this matter, had before this
record, in this record you have the link
and the connection to the "deviation" and
that's enough to trigger the exclusion
CHAlRMAN BYRNE: ln other words,
what you're saying is, bottom linel is
that there has to be a link. We have to
be able to draw an inference Causatlon
does not have to be proof.
MR. KUSHNER: Correct.
CHAlRMAN BYRNE: Bottom line
MR. KUSHNER: Connection does have

to be proved. Link does have to be

proved,

CHAlRMAN BYRNE: But links can be
"proven" by inferences

MR. KUSHNER: Yes, by reasonable
inferences

CHA|RMAN BYRNE: By reasonable

inferences based on a reasonable reading.

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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lVlR. KUSHNER: Of course, yes.

lVlR. MOXLEY: lVlaybe l have this
wrong, but it seems to me the way you have
a potential to win on this issue and this
way of looking at it is not through
looking at what the lRS did because the
lRS is saying the generic deal was wrong,
too, and they nowhere said, as l
understand it, that the deviation had any
impact, although, they did say you have to
look at the facts and you can argue it. l
would have thought that your argument is
well, okay, we should really put our head
into how an appellate court might look at
it and if an appellate court might say
that it might have been significantly
better, somewhat better, a prospect of
success you know, absent the deviation, l
would have thought that would be your
argument l don't know if it works,
but --

MR. KUSHNER: l'll take any argument
l can get, but the real argument is what

the lRS offered in terms of settlement

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PROCEED|NGS

encompassed this. There's no doubt about
it. l don't know. You can guess at all
what would the lRS have done if there
weren't this deviation in it, but there‘s
no doubt also that this deviation was a
scuttling of the entire KPMG tax plan lt
opened the entire transaction not only to
the so-cal|ed ownership attack that the
fund didn't own the shares but even more
important to the C corporation attack that
the transfer in December of '02 was
substantially below fair market value and
even Mr. Mathers said that you need an
appraisal as an important safety measure
for fair market value

lVlR. MOXLEY: Excuse me l mean,
that's how you potentially win ls that
if the deviation -- well, Mr. Stroili said
this isn't right because it's overriding
Well, you said it, too, the arising out of
the language but if an appellate court
looking at it would say that well the
deviation made a difference and absent the

deviation, you would have won, then you
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Page1108-1111

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.lOQS Page 14 0f47

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can argue well we lost some prospect of
being able to win. l don't know if we
would have to quantify what that prospect
would be at that point, but absent that,
if the basic deal wouldn’t have won, too,
why wouldn't we have to assume that a --
the court would have looked at it and
would have figured that out and then they
wouldn't have said well it didn't arise
out of the deviation, it arose out of this
whole situation?

MR. KUSHNER: Wel|, the responses l
would have are one will never know whether
or not this KPMG plan would have worked in
this transaction and if you want to judge
probabilities, fine, you have the experts'
opinions, the experts' testimony, you'll
have the case |aw, you'll determine
whether Mr. Mathers’, l think, single case
citation to She|don is enough to support
his opinion that this was not economic
substance or not, but the main fact is
thatAlSLlC was deprived of the

opportunity to ever, ever determine for

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itself whether or not this termination of

the KPMG plan was something it would agree
to. And after a|l, l mean, that's what an
insurance contract is all about

CHA|RMAN BYRNE: lmean, again, l
have a tendency to oversimplify, just so l
can understand and then loan get into
more detai|. Try to. And frankly, AlSLlC
raised this early on in the conference at
least, as l recal|.

You're telling this panel, among
other things, that for all intents and
purposes you've made a motion for summary
judgment You don't have to find
anything You don't have to make a tax
decision. You don't have to do anything
You don't have to ~- in terms of findings
of fact. The facts are admitted. On
these state of facts and documents, et
cetera, et cetera, et cetera. From the
date the insurance --the date of the
contract to, l guess, the settlement on
this state of facts in the record, we move

for summary judgment because whether it‘s

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Nov 2 arb hearing 11/2/2006 10:04:00 All/l

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for an exclusion basis you're saying look
at the record and look at the contract, we
win. Put aside the good faith argument,
which may include Hndings.

Am l understanding that right that
there is no contest as to the operative
facts that would lead one to conclude that
summary judgment if we were in a court
would apply here because under no
version »- under no reading or
interpretation of these facts would there
be coverage for what happened? lt's a
little bit of an oversimp|i&cation,
but -~

MR. KUSHNER: Let me answer in a
round about wayi

CHA|RMAN BYRNE: Yeah, lasked it in
a round about way, so you can answer it in
a round about way,

MR. KUSHNER: Ear|y on,

Mr. Wahlquist wanted an in |imite
determination which amounted to summary
judgment. l said we're willing to go

along, but we want a broader record than

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PROCEED|NGS
you want. You determined, and lthink
wise|y, yeah, it's no use wasting time

CHAlRMAN BYRNE: Too late to suck up
now. ltell you that,

MR. KUSHNER: Of course At this
stage lf l had to go in for summary
judgment earlier, |would have agreed and
l did agree You've now heard the
witnesses. You've seen the demeanors. l
think it is pretty largely an issue based
on undisputed facts, yes.

CHA|RMAN BYRNE: We|l, it's not even
the witnesses We didn't need the
witnesses Look at the documents

MR. KUSHNER: And the law, yes, of
course

CHAlRMAN BYRNE: Okay.

MR. KUSHNER: Yeah. Andiflcan
just --

CHA|RMAN BYRNE: Continue, please

MR, KUSHNER: No, ldon't want to
overstay.

CHA|RMAN BYRNE: Five more minutes.

MR. KUSHNER: But on the 3A

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Page1112-1115

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1094 Page 15 0f47

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exclusion, there‘s one - that's the
intentional misconduct There's one thing
l do want to emphasize which we didn't do
in our briefs You have here a non-voting
shareholder of a closely held corporation.
You have the controlling shareholder and
his company buying out the non-voting
shareholder to what we say was materially
false information, misleading information,
deception. l think you have a fiduciary
relationship here and that just aggravates
what indeed was done to this fund.

CHA|RMAN BYRNE: Yeah, l hear you,
but look, |'|| say this on the record and
feel free to disabuse us of this notion in
your written submissions but to the
extent possible this panel will keep the
disputes and its resolution between you
guys Other than the facts of what
happened, we tend to stay away from
motivations intents, et cetera, so to the
extent possible, because frank|y, the
Austin Firefighters Fund has its rearend

or at least had its rearend hanging out a

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window in terms of its own accountants
And we heard that testimony and some of
the recommendations and why they did what
they did and they're a public entity and
even though our awards are confidential
and between the parties there is no doubt
in my mind that the winner or the loser is
going to move to confirm or move to
vacate Maybe you won't. But our award
becomes "public" in a court filing and we
lose control over it. And in my
experience and it's why we're very
careful as experienced arbitrators we are
very careful of what we say and how we say
it and l'mjust -- l'm not going to put,
just as l'm not going to put KPMG on trial
and l'm not going to put - l understand
motivations you know, l know what
happened and who said what when to whom.
lt's a judgment about which l can ~- we
can talk about until the cows come home,
but we're not here to make judgments on
anyone‘s actions other than AlSLlC,

Mr. McWilliam, the Trust and Upper Deck,

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Nov 2 arb hearing 11/2/2006 10:04:00 All/l

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so l'm just ~~

MR. KUSHNER: l understand

CHA|RMAN BYRNE: Throwing that out
there, can you --

MR. KUSHNER: |f | can just, and l'm
not in any way disputing or argument
because you are the sole deciders, but we
have in the past seen other parties who
have sealed court records lt has been
done and can be done

CHA|RMAN BYRNE: However,

Mr. Kushner, Counselor, notwithstanding
your boyish good looks Mr. Kushner, we
have all around this table been around the
block many number of times And remember
the comment l made about the road to hell
being paved with good intentions and the
carcases of volunteers Same can often be
said about court documents that are
sealed The best way to seal a court
document »- the best way to seal a
document in court is never submit it to
court in the first place So appreciate

the understanding And l have a very,

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very -- l'm not sorewing around here
We're finished on claimants side.

Counsel, is there any piece of
evidence, testimony, part of the factual
record that you believe we should still
hear whether we wanted to or not because
aside from lVlr. Bendheim, assuming
relevance are you satisfied ~ this is a
loaded question -- but are you satisfied
you have had a fair opportunity to
establish the evidentiary record from
which you will argue or is there something
else that -~ or do you want -- l want to
close the evidentiary record today but for
certain documentary.

MR. KUSHNER: We're on the same
wave|ength. We have nothing other than
Mr. Bendheim.

CHA|RMAN BYRNE: All right Thank
you, Counsel. And l am not limiting any
arguments that you wish to make in your
Hnal submission by any means lwant it
very clear and |‘l| repeat it again in

about an hour or so.
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Page1116-1119

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1095 Page 16 0f47

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With all due respect, you are on a
fool's errand if you attempt to pursue
meaning, finality to the discussion of
issues you've had and will have with the
panel. We are vetting issues not
deciding them. And nothing we say should
in any way be misinterpreted as our having
defined all of the issues or as agreement
with you or as disagreement with you on a
position of those issues

What we have tried to do is vet the
ones that you have raised with us and to
vet ones that we expect to be -- issues
that we expect to be addressed orally or
in writing because maybe it was just
because | had a bad cup of coffee this
morning, but they‘re on my mind or they‘re
on Mr. Moxley‘s mind.

Mr. Kramer, do you have some
questions for claimant?

MR. KRAMER: Just a comment l
learned a century ago in business school
that insurance is all about shifting of

risk, allocation of risk and l think that

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one thing l would like to see articulated

in the post-hearing memoranduml memoranda

»is we have a contract here where there is

a payment for the shifting of risk. What
is it that does justify or does not

justify the allocation of that risk back
away from the insurance company? And
that's a way l'd like to see it

crystallized.

MR. MOXLEY: A further question l
have, and you gentlemen can comment on it
now or in the written papers laterl
Mr. Kushner, you provided last week in
response to the Chair's request that
schedule of how AlG or related companies
have treated various of these policies
and l for one would be interested in
hearing your comments as to what we should
understand from that, what we should take
away from that.

MR. KUSHNER: l had nothing thatl
wanted to have you take away. l was asked
to give you a schedule and l have no

meaning to attribute to it.

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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CHA|RMAN BYRNE: Let me put it a
different way, ifl might: We have
accepted that chart into evidence and will
assume the factual underpinnings of what
is on that chart for the purpose of either
party being able to argue from it by
comparison or otherwise if they wish. lf
they wish. And if anyone wishes to bring
to our attention now or in argument any
inherent falsifies of the chart,
inaccuracies we'll deal with it in your
briefs And l will also tell.you if there
is a dispute as to the accuracy of it,
we'll probably disregard it all together.

MR. WAHLQU|ST: lf l might on that
issue, because l don't want this to come
down to your misreading the chart you're
not misreading the chart l'd like some
clarification on one of these cases, and
in particular, l think it's the very first
claim the Award Homes case AlG
characterizes that redemption as having
taken place and in what they call the

normal case or whatever, not the other

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types of cases but what they say is they
say there was a negotiated redemption
after an appraisal was done They don't
tell us if the redemption was at the
appraisal price or not and would l like
some clarification on that issue.

CHA|RMAN BYRNE: You know, if you
guys want to talk about it, fine l'm not
going to -- clever, little me l accepted
it as a demonstrative exhibit not for the
proof of what's on the exhibit l will
frankly state and appreciate it‘s being
delivered. lt helped me understand most
importantly, from my point of view, who
was involved, how much was involved and
what was basically going on with the other
AlSLlC insureds That's what l looked at
it as. And to be honest with you, l
thought it was helping you if you
didn't -- helping respondents if you
didn't othen/vise get that information
because l remember from the back of my
mind making an evidentiary -- discovery

ruling that said no way, Jose, you're not
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Page 1120 - 1123

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1096 Page 17 0f47

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getting the underwriting file, you're not
getting to examine it, we'll get the bare
bones outline, don't read too much into
itl pick up the phone and call their
lawyer if you want to, pick up the phone
and call the lawyer if you know them or
find out who they are, and if there is a
factual issue and you want us to leave
room for a contrary afhdavit, God forbid,
all power to you, okay? That's the best l
can do for you.

MR. WAHLQU|ST; Thank you.

CHAlRMAN BYRNE: Ten minutes

MR. MOXLEY: l have one more

CHAlRMAN BYRNE: l'm sorry.

MR. STROlLl: ljust wanted to point
to one thing that was in the record, but
we didn't point it out. lt's from Upper
Deck's side Exhibit 281, which is one of
their response to an lDR, page seven,
response 19. lt points to the fact that
KPMG originally asked Upper Deck not about
contributing to Austin, but to a Los

Angeles fund and the reason given in that

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response is because Upper Deck didn't want
to do that because it established a floor
price And ljust wanted to point that
out.

MR. MOXLEY: What l wanted to ask is
whether or not we should take from the
chart the fact that apparently AlG has
paid in some instances that's it's AlG's
position or it isn‘t its position that if
the Upper Deck transaction had been played
out in the so-called generic way with the
fair market value there would have been
ooverage?

MR. KUSHNER: Let me suggest to you
yes, if it had been played out in
accordance with the terms and conditions
of the policy, there would have been an
acknowledgement of coverage and Upper Deck
today might well be in the same position
as the Award Homes and Santa Clara and
that is opposing the lRS assessment

CHA|RMAN BYRNE: So does it also
stand for the proposition that if you make

a partnership with --the insured and the

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Nov 2 arb hearing 11/2/2006 10:04:00 All/l

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insurer make a partnership before it‘s too
late with respect to the lRS or the lRS's
position or coverage under the policy that
the chart speaks to the -~ also speaks to
the proposition that the sooner the
better?

MR. KUSHNER: l'm not sure l
understand

CHAlRMAN BYRNE: That the sooner one
reaches the partnership, the sooner the
cooperation is established between the
insured and the insurei’? The better off
both parties tend to be?

MR. KUSHNER: As a practical matterl
there‘s no doubt

CHA|RMAN BYRNE: Okay.

MR. MOXLEY: Thank you.

MR. KRAMER: ljust want to make
sure because we've misdirected or directed
your argument in ways that you may not
have planned when you made your outline

ls there anything else you want us
to hear now?

CHAlRMAN BYRNE: As opposed to in

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writing?

lVlR. KRAMER: As opposed to in
writing

MR. KUSHNER: ldon't think so.

MR. STROlLl: ljust had a question
in terms of briefing on the bad faith
issue.

CHA|RMAN BYRNE: lf it's a question
as to how to handle it.

N|R. STROlLl: Yeah.

CHA|RMAN BYRNE: Let's leave that
until this afternoon.

MR. STROlLl: That's fine

CHA|RMAN BYRNE: Butjot it down,
okay? Ten minutes please

(Brief recess taken.)

CHA|RMAN BYRNE: Back on the record,
please

Before l forget, "burdens" is a --
in arbitration, it is an issue analysis
not a case analysis so you are for
example and l'll take the main ones
claimant has the burden with respect to

things like conditions precedent and
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Page 1124 - 1127

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1097 Page 18 0f47

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exclusion. Claimant and respondent share
a burden on a core coverage issue
Respondent would have a burden on issues
like good faith. And that's in accordance
with practice New York law, how under the
FAA a court would review an award, et
cetera.

With that said, Mr. Howell, thank
you for your patience Proceed.

MR. HOWELL: Thank you, and l'll
start off by echoing Counsel's comments
not only about the panel, but
reciprocating the comments he made about
our office Their office has been
professional, cooperative courteous
lt's been -- l don't want to say a
pleasant surprise but something akin to
that and l appreciate the hospitality all
of you have shown us in connection with
these proceedings and the months leading
up to these proceedings lt's been a nice
exchange

ln terms of getting to the merits of

this and this relates a little bit to

1128

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what Mr. Kramer asked about, but this is a
specialized policy with specialized,
unique risks. lt was a fairly narrow set
of events that were in issue And before
l get to the specifics of what they
insured, because from our perspective
it‘s isn't even something that can really
be debated or questioned in terms of what
was insured, but l want to focus first on
the impact on the insureds here

This is a situation where, as
Mr. Kramer pointed out, we paid AlG
$3.25 million, We also paid KPMG almost
$600,000. We paid the Austin firefighters
$2 million. We incurred extensive other
costs and expenses in the form of
attomey‘s fees accountants fees and we
have not received a dime of tax benehts.
This has been a drain going one way. And
one of the consents l'm going to talk
about is a concept of windfall because if
there‘s any result here where AlG pays my
client anything else than $50 million, it

will be the most fortuitous windfall that

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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AlG ever could have hoped for, and l'll
get to the details on that.

From my client's standpoint this
isn't a windfall, this is the risk that lt
paid for. lt put its chips down on the
table with respect to the $3.25 million
dollars and | want the panel to keep in
mind, the $50 million, it's taxable This
doesn't go just to the bottom line l
just think to have that background so that
we understand what people were doing when
they entered into this policy and what we
did when we wrote a $3.25 million check
and what our expectations were

Now, there‘s been a lot of
discussion particularly today about what
did AlG insure? And l keep hearing AlG
said we insured a plan, we insured a
strategy and then they go to provisions
that are buried in the opinions or
somewhere else and say, see it's right
there You don't have to go there to
understand what AlG insured_

AlG didn't insure a plan, they

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didn't insure a tax strategy. WhatAlG
insured in endorsement number one was you
will have insurance coverage in the event
the lRS makes certain assertions against
you. And the most obvious one here is D,
the post-gift allocations of Upper Deck's
taxable income to the municipal plan are
not correct and proper_ And then lthink
exclusion A talks about if they make an
assertion against you about the second
class of stock, so in terms of what AlG
insured, they insured that kind of
argument about income allocation, about
second class of stock. lt's endorsement
number one for a reason. lt`s the
definition of insured tax event

Now, l agree with AlG. That doesn't
end the story in terms of understanding
whether or not we have absolute coverage
here. But that's the triggering event,
That's the event that triggers Yes, this
is encompassed and there‘s no dispute that
the lRS came after us on income allocation

and they came after us on second class of
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Page 1128 - 1131

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stock, for example

Now, another thing that l want to
point out about the opinions the KPMG
opinions just preliminanly, those
opinions contemplated the strategy not
working They say more likely than not,
should prevail, likely to prevail. AlG
knew that and AlG decided to insure in
accordance with the insured tax event
these assertions by the lRS. lt doesn't
say you -- we are insuring this plan or if
the lRS attacks this plan. That's not
what triggers insurance

Now, Exhibit 104 is the policy. And
we've heard a lot of talk about what's in
the policy, the references to the opinion
and you do look to the insurance policy
once you've got this triggering event in
terms of an insured tax event, which we
clearly have that's what the policy
insured against. You look to the terms
and conditions of the policy. And where
do you always look to the terms and

conditions of the policy to see whether or

1132

PROCEED|NGS

not coverage applies? Where do you look?

You look to the exclusions and you look to
representations and warranties That's
where this language is supposed to be,
And if you look to the exclusions and the
representations and warranties in this
case and in the shareholder's agreement or
any of the other documents there is
nothing in those documents that says you
must follow the put procedure lt‘s
exclusive in any way, shape or form. ln
the event you don't follow the put
procedure you must pay fair market value
and must have an appraisal that
accompanies it. That put procedure has a
life span of a maximum of 180 days
There's a whole realm of transactions that
can take place outside the realm of that
put procedure lt is very easy, very

easy, to write up language that says you
must follow the put procedure lt is very
easy to write up language that says if you
do any sort cfa buy back, redemption or

whatever, it must be at fair market value

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Document 35 Filed 04/09/07 PagelD.1098 Page 19 0f47

Nov 2 arb hearing 11/2/2006 10:04:00 All/l

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and it must be accompanied by an
appraisal. That language does not exist
And it does not exist anywhere in Exhibit
104, the policy documents lt does not
say that in any of the opinions that KPMG
authored either. The language doesn't
exist What they do is they repeatedly go
to language that focuses on how the put is
to operate and they try to take that
language and graft it to other places

Now, what has AlG told us about the
significance of the put or fair market
value or an appraisa|? Well Mr. Laythrop,
their in-house attorney, he came in here
early on in these proceedings and he told
us that the most critical aspect of this
transaction was that in any repurchase
there be fair market value. He said l
knew that, l knew it ahead of time and l
knew this was fundamental and critical and
it applied to any effort to get this stock
back. AlG knew it, At least that's what
they tell us. We don't see a single

writing, E-mail, anything from

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PROCEED|NGS
Mr. Laythrop reflecting that
understanding but that's what he told us.
And as l said before these consents
these critical, fundamental concepts are
easy to express in a document They are
easy to draft exclusions for. They are
easy to draft representations and
warranties for. lt's easy to put a
provision like that in the shareholder's
agreement and it does not exist and it‘s
obvious where they go. They go in those
documents And they don't exist And
they‘re not in the ~- they‘re not in the
KPMG opinions either.

Those sorts of wide sweeping
propositions which are the hallmark of
AlG's defense in this case are not in the
policy documents anywhere And guess

what, AlG admits it, What does AlG say at

page 17 to 18 of their opening brief in

this case? This is a quote: "Respondents
breached their promissory warranty with
respect to the critical assumption that

fair market value would be paid for the
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Page 1132- 1135

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1099 Page 20 0f47

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Austin shares" An assumption. That's
where AlG is in this case We assumed you
would pay fair market value for it.

Now, near as l can tell, this
assumption that these procedures would
always be followed, we're not the only
ones who had an understanding that that
assumption didn't exist We heard
testimony in this case from Austin
Hrenghters about Net Source They
engaged in a voluntary, mutual repurchase
outside of the put process without a fair
market valuation just like we did. ln
fact, they did it before we did because
presumably, they read the KPMG transaction
documents and the insurance documents to
allow for the same thing And guess what
else we know from this chart?

CHA|RMAN BYRNE: Are you
suggesting -~ l don't think you mean to
suggest that what Austin fireighters did
has any relevance to our consideration

MR. HOWELL: What l am suggesting is
that AlG first with lVlr. Laythrop and then

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PROCEED|NGS
right up through their briefing in this
case has said this is the most critical
component of the deal.

CHA|RMAN BYRNE: Okay.

MR. HOWELL: And to the extent they
were involved in other deals And we know
from the chart they were involved in a
total of four deals

Now what do we also know from that
chart? ln three of the four deals, and
we're one oftheml it wasn‘t done in
accordance with the put process lt
was ~-

CHA|RMAN BYRNE: Okay.

MR. HOWELL: -- "negotiated."

CHA|RMAN BYRNE: Okay.

MR. HOWELL: So whatever critical
assumptions they made and however they're
expressed in the policy documents we are
not the only ones with the understanding
that a mutual, voluntary transaction
outside the 180-day put procedure is
contemplated and is permitted and is

nowhere prohibited by anything in the

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Nov 2 arb hearing 11/2/2006 10:04:OO /-\lVl

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opinions anything in the shareholder's
agreement or anywhere else in the policy
documents including the most obvious
places where they would be, in the
exclusions and in the representations and
warranties

CHA|RMAN BYRNE: All right. That
part of it, l got

MR. MOXLEY: What about their point
that in one - l forget exactly which one
l'm looking for it here but in one of the
company's letters to the lRS. the company
made the point well, we're going to have
appraisal here or something like that,

MR. HOWELL: Well, that's not what
it said. lt was the initial voluntary
disclosure made in 2002 before the
repurchase and in that voluntary
disclosure the lRS asks you to explain
the deal. And that voluntary disclosure
doesn't say we're going to do the put
process What it says is they have the
right to do lt commencing on this day. lt

just describes a right that is held by

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PROCEED|NGS

Austin. Doesn't say it will happen
doesn't say it won't happen lt explains
the deal and says that the Austin
Hrenghters have the right to put this
back to us commencing in April of '03.

MR. MOXLEY: What about their
broader argument that if you read -- and
maybe you'll say this isn‘t the right way
to read it-- but if you had read the KPMG
opinions broadly and in their natural
meaning, the justification they give for
why this approach will work is that you're
not going to run a foul of two classes of
shareholder and you're going to have fair
market value

MR. HOWELL: Okay, lwant to address
that and you're getting down further in my
outline

MR. MOXLEY: Just go to it when
you --

MR. HOWELL: l'd like to address it
now because to me, that's been one of the
fundamental misunderstandings in this case

and it's the reason for the existence of
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Page 1136- 1139

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llOO Page 210f47

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the put.

The put does not exist because it is
fundamental to the SC2 strategy and income
allocation working The reason the put
exists and that right exists is so
charities like Austin firefighters will
participate in the strategy. lt is their
economic bone. When you go out and try to
get a charity to participate in the
strategy, you tell them you have the right
to liquidate it in accordance with this
procedure redemption procedure or put
procedure that we're going to provide to
you. lt is an economic bone provided to
Austin, but what it does when you enter
into a buy/sell agreement and that's
really what a put is, and this is the
language that's talked about, in order to
avoid a second class of stock, and this is
the safe harbor regulations it says that
if'you're going to give that economic bone
to one set of shareholders and not another
set of shareholders your buy/sell

agreement cannot, and this is at the front

1140

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end, give them the right to -- it cannot

have a provision allowing for the purchase

~of that stock back in accordance with the

buy/sell provisions substantially above or
substantially below fair market value
That's the second class of stock issue so
it is defensive in nature

The put doesn't help SC squared.
The put creates an additional problem for
SC squared, namely, when you're giving the
charity a put, you're giving them a right
that is different than what the other
shareholders have a buy/sell right, and
when you do that, you run the risk of
creating a second class of stock and what
it says is you can avoid the second class
of stock designation if your buy/sell
agreement says it will be purchased at
fair market value You could take the put
out of this transaction And it wouldn't
affect the viability of SC squared at all
in terms of the income allocation And
they keep talking about how when you buy

the stock back, voluntarily and mutually,

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Nov 2 arb hearing 11/2/2006 10104:00 AM

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without using the put procedures that
that somehow creates a second class of
stock problem. That's not true

CHA|RMAN BYRNE: lt's not, but isn't
it not true because that's not necessarily
all of the second class of stock argument?
l'm asking, l guess isn't there a
difference between the second class of
stock argument and the safe harbor
provision, which at least in my
experience there is.

MR. MOXLEY: What you don't want is
for it to look like a parking arrangement
and having the buy back be at fair market
value as l understood it, conceptually,
takes that out as a -- as what would
othen)vise have been a fatal problem.

CHA|RMAN BYRNE: Well, isn't that
safe harboi“? What l'm saying is a second
class of stock issue also arises when you
have same stock, same value one of which
gets 10 percent of the earnings the other
of which gets 90 percent of the earnings

doesn't that create two classes of stock

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as well?

MR. HOWELL: That is a different
second class of stock argument

CHA|RMAN BYRNE: Okay. But you were
saying the second class. That's what l --

MR. HOWELL: Okay, well when l say
that, l mean the one that they constantly
site to in the references the fair market
value and l'll read the regulation

CHA|RMAN BYRNE: No.

MR. HOWELL: Okay.

MR. KRAMER: l want to get back to
what Arbitrator Moxley just said about a
parking arrangement l think regardless
of whether there‘s a fair market value or
appraisal right in the put, l don't see
how you have anything but a parking
arrangement unless there‘s a way to compel
the repurchase of this stock.

MR. HOWELL: You could argue that
the put provision if it‘s mandatory and
has to be used, it creates that very
parking arrangement because it says you're

not really a shareholder and you can't
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Page 1140-1143

Case 3:05-cv-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1101 Page 22 0f47

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stay in the game past that put option
procedure or you can't get out before
that we've got a mandatory, defined time
when you have to get out, which is, in
effect, what AlG's arguing here lt
increases the chance of being viewed as a
parking arrangement That's the concern
that l see with respect to the put option
procedure and when lVlr. Laythrop or
somebody says you had to use it, it was
our expectation it had to be used, it
increases the risk of being viewed as a
parking arrangement so that's the way l
view that component of it.

MR. KRAMER: The whole thing is
construct, but without that put
arrangement you have a situation where if
you could convince anybody to take the
stock, it was tax exempt you get
90 percent of the income you don't pay
any taxes on it, we get to accumulate all
of the income in the company and we don't
pay taxes We pay taxes on 10 percent

We're not compelling it didn't ~- we've

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already got a resolution that says that
there's not going to be any distribution
made so you're getting nothing
essentially, and maybe some day, if we
feel like it, we'll buy the stock from
you, but don‘tforget, we've also got
these warrants where we can dilute
whatever you've got into some meaningless
participation in the company. l don't see
how you get around having that put be an
essential part of the structure

MR. HOWELL: l think it's an
essential part of the structure from the
marketing standpoint Meaning no one‘s
going to do the deal. And you referenced
that How are you going to get somebody
to do it? l'm saying that from the
concept of parking stock, with or without
the put, subject to that exposure and
there is an argument l think that says
when the put is deemed to be mandatory,
that you have to do it, you've defined not
only that the stock is going to be parked,

but for how long?

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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MR. KRAMER: Yeah, but the whole
thing, it's like one of these fancy
desserts in a nouvelle cuisine restaurant
Everythlng leans on everything else but
you have to, after all the elements you
have to have the chocolate and the whipped
cream. You have to have the put to and
you have to have the -- to avoid the
parking arrangement and you have to have
the fair market value to avoid the second
class of stock. Otherwise the whole
thing doesn't work.

MR. HOWELL: You have to have --if
you're going to provide the put, you have
to have the fair market valuation in there
because it's just -- otherwise you will
have a second class of stock. That's
obvious under the regulation

What l’m trying to articulate a
different thought about is that l don't
agree that you couldn't have a deal
without the put option, l think you could
make the exact arguments without the put

option in there l think you'd have a

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real hard time finding somebody to do it
and l don't think you would be any more or
less and perhaps less vulnerable to a
parking of stock argument because if
you're going to argue that the put is
mandatory and the put haste be provided
with, you've not only defined that the
stock is going to be parked, but you're
saying it's going to be parked up until
this 180-day window and then it‘s corning
back.

CHA|RMAN BYRNE: Okay, l_et's assume
that.

MR. HOWELL: Whereas without the
put, it may stay there forever if it‘s not
deemed to be mandatory,

MR. KRAMER: But where is the hair
of economic reality in this case?

MR. HOWELL: The hair of economic
reality in this case is that you're a
shareholder and the company cannot make
distributions unless it‘s going to give
distributions to you, lt will have to

deny itself during that entire period of
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Page 1144 - 1147

Case 3:05-cV-01945-|EG-RBB Document 35 Filed 04/09/07 Page|D.llO2 Page 23 0f47

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time as we||. That's the economic hair
that's on it.

CHAlRMAN BYRNE: What the hell does
the company care in denying itself
10 percent of the distribution?

MR. HOWELL: The reason the company
cares is because the company and its
shareholders can‘t get access to any cash,
any distribution

CHAlRMAN BYRNE: That's a
shareholder. All they have to dc is
distribute 10 percent. The burden has
shifted dramatica||y, has it not? lsn't
that the heart of any tax shelter?

Here's what l'm suggesting, lVlr,
Howell, and | genuinely believe that we
understand your point, but what l think
you really have to get to, and this goes
to both sides, if you haven't figured out
by now that you should stay away from
corporate |aw, you haven't been listening.
lf you haven't figured out by now, you
should stay away from shareholder's

agreement and how they read and stock

1148

PROCEED|NGS

repurchase agreements, except for their
impact on the bottom line. Stay away from
them. Let's give you -~ personal|y, l
think you're better off saying who cares
how you come to fair market value, we came
to fair market value in a repurchase, so
what's the problem? That's the --

MR. MOXLEY: l'll get to that,

CHAlRMAN BYRNE: That's a personal
opinion.

MR. HOWELL: Okay.

CHA|RMAN BYRNE: What l don't want
this to get -- l don't want ~- l don't
think respondent has to get bogged down -~
and l know that's a loaded word -~ in
dealing with the reps and warranties and
exclusions and that stuff. Which is why l
said what l did before you started. l'm
not saying you don't address them, but
focus on the fact that what happened was
not-- assuming that what happened was not
the transaction annexed to the agreement,
annexed to the insurance contract and made

a part thereof. So what? And you started

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Nov 2 arb hearing 11/2/2006 10104:00 Al\/l

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off with a bang in terms of insured tax
event and now we really need you to get to
insured tax loss.

MR. HOWELL: Okay.

CHA|RMAN BYRNE: Respectfully.

MR. HOWELL: Okay. Let me finish
off the point that l was making.

ln terms of, again, this critical
assumption, and other parties, apparently
didn't view this critical assumption any
differently than we did and l've indicated
what the charge has shown other parties
did. l'll also note that KPMG is involved
in this process We don't have a note,
memo or inkling from KPMG that a
repurchase in this time frame was
violative or -~

CHA|RMAN BYRNE: l agree with you.

MR. HOWELL: -- or wasn't complicit
with the strategy,

CHA|RMAN BYRNE: l agree with you.
All we have is what happens.

MR. HOWELL: And the fundamental

point here that is perhaps lost from a

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legal perspective and l want to stress it,
is that the law in this area of exclusions
and warranties and policies, the law in
this area, it's not kind to insurance
companies The law imposes on insurance
companies an enormous burden of clarity
and being specinc and will quote that law
and they don't get to make assumptions or
make arguments by implication They have
to be clear, specific and direct. And one
thing is clear. You can use -- look at
the KPMG opinions and include it in this
process They are not clear, specific and
direct on the issue of the put procedure
being mandatory, fair market value or the
fact that all redemptions had to be
accompanied by an appraisal,

CHA|RMAN BYRNE: Have you ever in
your experience seen an lB opinion clear,
speciic and direct?

MR. HOWELL: Excuse me?

CHA|RMAN BYRNE: Have you ever in
your career seen an investment banker's

opinion or an accountant's opinion be
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Page 1148 - 1151

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1103 Page 24 0f47

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clear, specific and direct?

MR. HOWELL: Welll l'll answer your
question

CHAlRMAN BYRNE: lmean, l'll put it
a different way: The answer to that
question is no. Do we have to find, do we
have to -- don't you want us to spend more
time on the policy being clear and direct
and to the extent the opinion is part of
the policy -»

MR. HOWELL: l arn simply responding
that l think the policy is clear, direct
and specific in the sense that it would
have been easy to include that type of
language about fair market value,
appraisal, the put and it's not there.

CHA|RMAN BYRNE: Okay.

MR. HOWELL: What l'm responding to
is the argument from AlG which is a
grasping argument. They're diving into
paragraph 14 of a given opinion letter,
which talks about the speciic put
procedure and say, see, it calls for fair

market value so that means fair market

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value is required everywhere. That, to
me, is the appendage argument that they've
made not one that l accept, but one that
l respond to.

CHA|RMAN BYRNE: We don't disagree

MR. MOXLEY: Let me ask you. l
mean, l understand your point or what l
take to be your point, which is that it
would have been quite easy for the
in~house lawyers and the coverage people
the underwriting people and so forth at
AlG to have made these points explicit.
Okay, that these are preconditions, these
are bases of exclusion and so forth. And
l understand your point that the law is
often, one might say, harshly construed
against carriers in this kind of situation
based on an assumption that carrier is
supposed to be providing coverage

Here's the question, and l think
it's an issue and it's perhaps one to be
briefed as well as addressed now, but what
is the relevance of some consideration of

the reasonable intent of the transaction

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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that's going to be covered here? The KPMG
opinions are incorporated, as Mr. Stroili
pointed out, from the policy and arguably
one can read them as saying well, you
know, there's some basic assumptions here
in terms of one class of shareholder and
not undermining that and other elements
that were considered crucial here so the
question becomes is there or is there not
an obligation upon the respondents here to
not do anything in terms of a buy back or
anything else that undermines the
viability of the strategy which is the
subject ultimately of the coverage here’?

MR. HOWELL: First point is a legal
one. lf it‘s not spelled out, no, there
is no such responsibility and that's the
law. The second point is a voluntary buy
back between the parties, after the fact,
does not raise a second class of stock
issue. A voluntary buy back between
the --

MR. MOXLEY: That's your argument

you just made. lunderstand. Yeah,l

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understand it,

MR. HOWELL: lt's a little bit
different in the sense that the second
class of stock issue is when you create a
right ahead of time and say you have this
buy/sell right that carries fonivardl but
if you come to you voluntarily, outside
the confines of that agreement or you come
to me, there is no notion that you paid
too much or you paid too little for the
stock and now you've created a second
class of stock.

MR. MOXLEY: l take it you'd
acknowledge that if the company had had
the right to say to the charity, we'll
take this back whenever we want and we'll
give you whatever we want to give you,
that that would be a problem vis<a-vis the
tax strategy?

MR. HOWELL: ldon't think the deal
ever would have been entered into at that
point in time and this would be something
that would be analyzed as part of the

component of the tax strategy.
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Page 1152- 1155

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llO4 Page 25 0f47

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MR. MOXLEY: lsee. So you`d say
AlG wouldn't have entered into it and, in
fact, they've presented testimony that's
not rebutted that they turned down a
transaction because it wasn't going to be
what they regarded as a protection

MR. HOWELL: l wasn't saying AlG
wouldn't have done it. l was saying the
charity wouldn’t have done it,

MR. MOXLEY: But your point is it
has to be explicit There's no good
faith. There's no general carry through
unless you have something explicit that
says this is a precondition

MR. HOWELL: And here`s why it has
to be specific. lf it's specific and it's
clear, as it wasn't clear to anyone who
reads these documents including other
policyholders, we're not going to do the
repurchase lf there‘s a condition that
says this is the most critical assumption
and you need to get an appraisal, the
deal's not going to go down the way that

it does because you're going to get an

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appraisal. This is not something that was
prohibited anywhere in the policy or any
policy documents

CHA|RMAN BYRNE: All right, but that
is an act. An act of redeeming the
shares. And let's assume that it was for
fair market value. Whatever the hell it
was at the time it was. Assume you had
five appraisals and bought it back forthe
middle Okay? Your expert, not
personally, but respondents tax expert,
opined that even if it was fair market
value the strategy would not have worked.
Stop. Gets to a very basic question,
Mr. Howe||. What was the insurance for?
What was the insured tax |oss? l know
what the insured tax event was here. What
was the insured tax loss? Because if l
take your argument to the extreme which
we all tend to do one way or another, part
of what you're telling me is that this is
isn't prohibited, that's not prohibited,
the other thing's not prohibited. l agree

with you, Let's assume l agree with you.

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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That's telling me that l can enter into
any kind of tax shelter that l think will
work or l can -- whether it can work or
not »- l can enter into a tax shelter and
get in and out of it if l have a tax loss
because l got in and out of the tax
shelter, the insurance whatever it is,
tax shelter, AlG has to insure the loss if
the lRS says whoops, is that your
position? l mean is that the underlying
basic position you're taking?

MR. HOWELL: The underlying basic
position is just that.

CHA|RMAN B¥RNE: l had a loss, you
insured the toss, that's it.

MR. HOWELL: And you need to
understand, we don't get out of the tax
strategy. The tax strategy is implemented
and utilized in '01 and '02 and we filed
returns as we're obligated to do in order
to comply with the policy requirements and
what we do is we make a decision not to
carry forward with the strategy and

frankly expose AlG to more potential risk

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in to 2003.

CHA|RMAN BYRNE: Don't worry about
it. They got lots of money and they got a
limitation on there at $50 million, okay,
under New York law, which is very strict,
unless you can get out of it by good
faith, the good faith argument, which we
haven't gotten to yet, $50 million, that's
it. lt's actually $49.5 million is the
limit, for all intents and purposes, the
way they work a retention and that's legal
bills and loss, okay. You did what you
did.

lVlR. HOWELL: And let me »- the
reason l'm going through the argument in
this fashion is because as l've sat here,
my perception is certain arguments like
fair market value and consents have been
morphed into areas and what l'm trying to
explain in going through my argument is
that l think this hurdle of contract
interpretation l'll call it, under the
exclusions, the warranties, if you don't

get through that hurdle you don't even
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Page 1156- 1159

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need to get to the tax experts

l intend to talk about what the tax
experts have to say and Mr. Moxley
referenced in his causation, l intend to
address all that, but the reason l'm
bringing it up is if there isn‘t an
exclusion or a prohibition or something
like that, even if it increased the risk,
like smoking in bed.

CHA|RMAN BYRNE: Okay.

MR. HOWELL: l don't get it there.
You still have to pay for the fire

CHA|RMAN BYRNE: Why? Why?

MR. HOWELL: l'm saying that--

CHA|RMAN BYRNE: No, why? No, why?
We'll give you all of those arguments

MR. HOWELL: Because of the law that
exists upon insurance companies that they
need to be specific and direct in their
policy exclusions and in the
representations and warranties they get
from their insureds and if you don't find
an out from coverage under the policy,

even if you smoked in bed and increased

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PROCEED|NGS
the risk or even if you engaged in a

repurchase and one accepts that it

increased the risk, it's not excluded.

CHA|RMAN BYRNE: Well, wait a
second Let's assume all of the policy is
clear and explicit and l agree with you
and l agree with you that it is not so
clear and specific with respect to the
reps and warranties and the exclusions,
except there were two parts of that policy
that are clear and direct. One, insured
tax event. Two, insured tax loss.

MR. HOWELL: Well, lagree and l'll
turn -- l'm struggling with what the issue
is to insured tax loss. The definition
means any taxes, interest, fines or
penalties owed by any insured to a taxing
authority directly related to the insured
tax event, the definition we've already
covered, subject to all the terms,
conditions and exclusions of the policy.
l'm trying to deal within the confines of
that language

CHA|RMAN BYRNE: Okay.

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PAGE 31 8

Document 35 Filed 04/09/07 PagelD.1105 Page 26 0f47

Nov 2 arb hearing 11/2/2006 10:04:00 All/l

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MR. HOWELL: And --

CHAlRMAN BYRNE: So the insured tax
event, you say, is any challenge by the
lRS, any successful challenge by the lRS
that results in the payment of additional
taxes, interest or whatever/2

MR. HOWELL: Yes, the insured tax
event is any assertion by the lRS.

CHA|RMAN BYRNE: Okay.

MR. HOWELL: Of that. lncome
allocation, second class of stock, an
assertion which has clearly and undeniably
been made in this instance

CHA|RMAN BYRNE: Well, how about the
assertion goes back to the tax year 2000?
ln terms of how dividends were distributed
and how income was distributed that the
shareholders and the frequency thereof,
dah, dah, dahl which led the problems in
'01 and which led to problems in '02.

MR. HOWELL: Well, in 2000, it's
outside the policy period, so there isn‘t
going to be any coverage but the way the

policy is written, if-- and this is their

1162

PROCEEDlNGS

writing -~ if the assertion is made
second class of stock or income
allocation, the income allocation is going
to be directly related to the charitable
contribution, obviously, but if those
assertions are made you're within the
scope of coverage and insurance companies
don’t get to come back and say we really
didn't mean to insure that much. They're
bound by the scope of the coverage that
they offered here. And the coverage they
offer here isn't if somebody challenges a
plan or challenges the SC squared
transaction as implemented or any language
like that, lt is if an assertion is made
about second class of stock and income
allocation and that claim was clearly and
explicitly made over and over by the lRS.

CHA|RMAN BYRNE: At the time that
assertion is made what if anything is the
obligation of the insured to the insurer
at the time the assertion is made?

MR. HOWELL: The very obligation
that's defined by the policies, which is

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Page 1160 - 1163

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Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llO6 Page 27 0f47

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to work with your carrier, to notify your
carrier, and this is something that my
client is literally pulling his hair out
over, the characterizations about
cooperation with AlG. We were scared to
death of the way AlG was going to handle
this. We did everything we could to keep
AlG lock step with us in dealing with the
internal Revenue Service.

CHA|RMAN BYRNE: Hov\/? What did you
do?

MR. HOWELL: Every single lDR,
hundreds of them, before we ever blew a
response by them, we shared it with AlG.
We gave them boxes full of documents and
this includes all the repurchase documents
and everything else everything that we
sent to the lRS, be it firefighter's
documents, be it KPMG documents, be it our
own documents, we would take each box,
copy itl one to the insurance company, one
to the internal Revenue Service.

What we didn’t have here was

somebody stepping forward and saying we

1164

PROCEED|NGS
understand, you got a claim here, we
understand you have a loss here let's
work together on this.

We had somebody, and the documents
bear this out, who, from day one treated
this, and l want to get into this because
it gets into my bad faith, treated this as
a how are we going to get out from under
our coverage obligation here? And they
have made ridiculous and fanciful
arguments to try and do that from Tiger
Woods to Yugio, and l'm going to address
this, l don't want to get too off point
here

CHA|RMAN BYRN E: Don't. Don't. You
don't have to. You really don't have
because we didn't take that it -~
understand how we understoodl you knowl
what we took it for.

lVlR. HOWELL: We didn't have the
ally. We had the enemy and we had them
day one Day one. But l want to address
that later.

MR. MOXLEY: Let me ask, you made

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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your point. l asked you, you know, isn't
there some implicit obligation of the
policyholder to act in good faith
vis-a-vis the objectives of the strategy,
and your answer was no, flat out, you
know, the law is you have to be specific
in the exclusions and the representationsl
and the warranties and so forth.

What‘s the significance of that
language at the very top of the policy
under the heading Fiscal Event insurance
Policy where it says, "ln consideration of
the payment of the premium and reliance
upon the representations made," what does
that do in terms of the KPMG policies and
anything that those policies would seem to
emphasize?

MR. HOWELL: That's another point
because when you go to the
representations, what we said in the
representations is that you can rely on
the facts that are asserted in the KPMG
opinions, the facts, understandings of

fact, et cetera. Each of those KPMG

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PROCEED|NGS
opinions is preceded by a heading that
says, "Facts," and it lays out what the
facts are in those opinions

MR. MOXLEY: l thought there was
language that picked up conclusions or
assumptions orthe like Maybe l'm not
remembering

MR. HOWELL: Assumptions of fact.

CHA|RMAN BYRNE: Assumption of fact.

lVlR. HOWELL: Veah, it's all lied to
facts.

CHA|RMAN BYRNE: lB opinion

MR. HOWELL: Has a fact section

Sorry, l don't know if that responds
to your question

MR. MOXLEY: So l think we've
essentially covered this point. Let's
move on.

MR. HOWELL: And l'm not suggesting
that insureds don't have to cooperate or
shouldn't cooperate with insurance
companies

What l am suggesting is the notion

that didn't happen on this side of the
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Page 1164 ~ 1167

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llO7 Page 28 0f47

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upper deck-aig arb

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table is completely without support.

MR. MOXLEY: So what l would have
thought would be where you have a
nontraditional policy, something that's
specihc to a particular transaction, in
effect, or type of transaction, that there
would be some implicit obligation on the
part of the insured, broadly speaking, to
act consistently with the objectives and
the presumptions of the strategy and to
consult if there's an issue that comes up
like should we do it one way or the other
way or the like. Maybe that's wrong.

MR. HOWELL: And here's why lthink
if you look at what's in the shareholder's
agreement, it tells us when we have to
give AlG notice of certain things and --

CHA|RMAN BYRNE: You didn't mean to
say that

MR. HOWELL: l didn't mean the
shareholder's agreement,

ln terms of the policy documents,
there are provisions in there about an

amendment, for example lf you're going

1168

PROCEED|NGS
to amend the shareholder's agreement, you

should give us notice but in that same

agreement, it says the stock can be

transferred Section one says it allows
transfers of the stock and it lays it

right out in there, "Can't be transferred
without the consent of Upper Deck, the
shareholders." There's an obvious place
you could put in there. And AlGl it also
says at section eight of the agreement
that if there‘s a stock transfer and it
results in one shareholder remaining, this
agreement is going to be automatically
terminated The shareholder‘s agreement
is part lt is part of the insurance

policy, The notion that stock transfers
couldn't happen without their consent and
the agreement couldn't be terminated
without their consent, all of that is
expressly contemplated within the
shareholder's agreement that is annexed to
this policy, and if you want to craft an
agreement that says that can't happen

without us, then it should say that. The

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PAGE 320

Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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put procedure here is not drafted as
mandatory.

CHAlRMAN BYRNE: Get away from
corporate law.

MR. KRAMER: lwas going to say the
same thing.

CHA|RMAN BYRNE: Get away from
corporate law. Get away from what the
shareholder‘s agreement says or doesn't
say. Get away from the share purchase
agreement Get away from what was
permitted to happen by the corporate
documents and/or KPMG or not and focus on
what happened And in that regard, you
spoke about the requests for information
being forwarded to AlG. l'm going to get
the dates wrong | am sure, but l saw a
couple of requests from coverage counsel,
probably to Orrick. Show me, Forget
about the understanding that came from the
company, okay? Orrick had this problem on
the insured's side and Cahill and then
Peabody & Arnold had on the insurers side

and l saw a couple of Cahill Gordon

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PROCEED|NGS
letters that said where are the -- what
happened? Where are the transaction
documents that led to the in effect what
could be read as, where's the transaction
documents -- where are the documents that
evidence the transaction that took place
in '02 that starts this mess?

MR. HOWELL: And l think what you'll
see when you follow that train of
documents through --

CHA|RMAN BYRNE: Your partner is
shaking his head no, so --

MR. HOWELL: What l'm going to say
is not long after that, l'm seeing the
documents being transmitted

CHA|RMAN BYRNE: Okay.

lVlR. HOWELL: There is a response
invariably.

CHA|RMAN BYRNE: Okay.

lVlR. HOWELL: And the requests are
made lt’s not as though these requests
are being made in '02 or even '03. l
think they‘re corning up towards the latter

portion lt's the exact same time period
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Page 1168- 1171

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1108 Page 29 0f47

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upper deck-aig arb

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when all this stuff is being put together
for lRS, for the insurance company,
everybody else We're not keeping anybody
in the dark here They're getting the
information The information is being
requested and if there's a delay here it
might be a matter of months

Now, one cf the issues that does
come up is they do ask for Gnancial
information and l remember yesterday you
addressed the issue about sales and things
like that. And we did tell them we don't
want our sales information released, we
regard it as proprietary, that it's
important for us to -- and we could not
get the confidentiality agreement signed
You asked what do you care by
confidentiality? Our concern was that
information and the details cf what
product we're selling, how much we're
selling, where it‘s being so|d, that that
was proprietary information and you need
to sign a confidentiality agreement, The

better question is not why would you ask

1172

PROCEEDlNGS
for the confidentiality agreement, why

would the insurance company ever have a

problem signing it?

CHA|RMAN BYRNE: All right. GO
ahead.

MR. HOWELL: l want to move onto
what l think is another impediment before
you even get to causation l'm going to
address causation because it's something
that Mr. Moxley raised and l think it‘s
important But much of their argument is
based on this exclusion 3A. That's the
one that says the fraud, criminal
conducted exemption We think you engaged
in fraud, criminal conduct. You don't get
to 3A because 3A requires -- in the
preamble to 3A, it says there has to be a
claim based on that conduct An assertion
from taxing authorities that this conduct
caused a loss.

CHA|RMAN BYRNE: Okay, it says what
it says Next argument

MR. HOWELL: You can go through the

lDRs, you can go through everywhere else

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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That claim has not been asserted and even
Linda Burke when she came in and
testified, Linda Burke says the lRS has
not investigated this strategy beyond the
generic strategy.

CHA|RMAN BYRNE: And they ain’t
going to because it's been settled.

MR. HOWELL: |f the exclusion is not
triggered by a claim, the exclusion can't
apply. That‘sjust a technical point, but
it‘s an accurate point.

CHA|RMAN BYRNE: Okay.

MR. HOWELL: Now l want to get to
the causation because even if you get
through what l would consider these
disabling hurdles that l've just
identified, you get to the issue of the
repurchase cannot have caused the |oss.

Now, what do we know is happening
before the repurchase? Well, we have KPMG
internally writing. This is in December
of '01 going back to February 2000 when SC
squared first reared its head. My

recollection is that SC squared was

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PROCEED|NGS
intended to be limited to a relatively
number of large S corporations The plan
made sense because in my opinion there
was and is a strong risk of successful lRS
attack on SC squared if the lRS gets wind
of it. Call me paranoid, but l think such
a wide-spread marketing campaign is likely
to bring KPMG, SC squared unwelcome
attention from the lRS. That's December
of ’01 , What do we know?

MR. KRAMER: Who was that written
to?

MR. HOWELL: lt is the M11 committee
record just identified as a KPMG
professional expressing internal concerns
about the SC squared strategy, This is
internal correspondence l don't know who
the recipient was. l can certainly get
you that information

CHA|RMAN BYRNE: Was that in
evidence?

MR. HOWELL: The 11 committee report

MR. KRAMER: Yeah, it wasn't written

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Page 1172- 1175

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llOQ Page 30 0f47

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to the insured?

MR. HOWELL: it was not written to
the insured.

MR. MCW|LLlAM: lwish it would have
been

MR. HOWELL: What do we also know
before December 2002? Already had to
identify ourselves KPMG has already
identihed us. The audit risk is an
absolute certainty at that point and this
is all happening in April of 2002 before
anyone's even contemplated a repurchase

What do we also know that is
undenivay before December 2002? The 11
committee investigation is already
underway. lt starts in October of 2002.
The lRS is contacting and asserting claims
against all 58 SC squared participants
The KPMG articles in the Wall Street
Journal about KPMG's tax shelter practice
et cetera, it's already being publicized
and put forth that way,

CHA|RMAN BYRNE: What does that have

do with the price of potatoes?

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PROCEED|NGS

MR. HOWELL: Here's what it has to
do with it; lt's that the strategy from a
causation standpoint is doomed before we
had even done anything vis-a-vis a
repurchase And i want to carry that one
step further.

CHA|RMAN BYRNE: Stop. No. Stop
right there Are you suggesting that it
was doomed before you entered into a
policy of insurance?

MR. HOWELL: l'm not--

CHA|RMAN BYRNE: There's some time
between entering into the contract --
you're testifying very well, Duke. You
don't have to whisper in his ear.

Are you suggesting that?

MR. WAHLQUlST: When the subpoena
went to KPMG ~-

CHA|RMAN BYRNE: Once it was known
that the strategy was doomed, what does
that have to do with anything?

MR. HOWELL: What l'm focusing on is
from a causation standpoint

CHA|RMAN BYRNE: Causation with

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PAGE 99 ;t'

Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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respect to what because there are
different issues on causation

MR. HOWELL: Whether the repurchase
caused any form of loss. These are all
things that happened before the repurchase
was --

CHAlRMAN BYRNE: Nobody is telling
you that the repurchase caused a loss
The argument is the repurchase was not
contemplated directly or was not
contemplated in the KPMG SC squared
transaction You have already argument
that, yeah, well, it didn't exclude the
repurchase Gotcha. That's not-- l
suggest to you that that's not the
causation problem or argument and to the
extent that you think it is, you may be
mistaken and maybe we can get a little bit
of clarification later. And l told you,
Richard, that l will not squeeze you,
okay? But l've got to stop.

MR. HOWELL: Okay.

CHA|RMAN BYRNE: Because some of us

have to get to a conference ca|l. All

1178

PROCEED|NGS
right, we will resume at 2 o'clock with
Bendheim. After Bendheim, lwill
literally give you all the time you need
provided if l hear anything having to do
with corporate law again, l'm cutting you
off and you cannot say anything else l
think you have focused sufficiently on --
doesn't mean you can't put in it writing,
but you have suchiently argued your
definitional triggering event, insurance
law issues, from our point of view. Focus
this afternoon if you would, on the
standards of bad faith, which may be key
not only to our interpreting the policy
under some cases, but key to excess, over
the policy limit, punitive damages et
cetera. l don't mean from an evidentiary
matter. l mean a little bit from a legal
matter because l will grant you that we
are not as well versed in California law
as you may be, and you are l'm sure and
we would like you to give us some
highlights of that argument before we read

them in the hnal submission okay?
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Page 1176- 1179

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.lllO Page 310f47

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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Five minutes You're back up,
Mr. Howell.

MR. HOWELL: Thank you.

(Brief recess taken.)

CHA|RMAN BYRNE: Go ahead.

MR. HOWELL: Thank you.

MR. MOXLEY: Forgive me, but before
we move on, ljust wanted to go back on
the causation issue thinking you may be
moving on from that.

MR. HOWELL: l've got more causation
ooming, though.

MR. MOXLEV: Okay, well let me pose

1226

Proceedings
this and then you can address it now or as
we get into it.

MR. HOWELL: Okay.

MR. MOXLEY: You had before the
lunch break had described your sense of
causation and you made the point that you
made in the written submissions prehearing
that all the challenges from the lRS that
came out all attacked what we might
call -- what's been called the generic
deal and so you've said, you know,
obviously, any deviation that Upper Deck
did isn't the problem here because a
generic deal was the problem and you've
been saying that all along.

lsn't the causation question
somewhat different, though? l mean,
granted the lRS had attacked the generic
deal or questioned it, challenged it and
granted that they never even though they
got all these boxes of documents, as l
understand it, they never said anything
about the difference between the

consummated deal and a generic deal, and
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Page 1224 - 1227

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llll Page 32 0f47

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l'm only using those terms for purposes of
argument, l know there's an issue whether
one should even make that distinction but
isn't the issue more on, as far as the
panel should look at it, of whether once
the lRS had opposed what Upper Deck did
and once it went through the tax court and
once it gets to the appellate court,
whether in the view of the panel, the
difference between the deal as consummated
and the generic deal was such as to
materially decrease the prospects of
upholding SCZ?

MR. HOWELL: Yeah, and l think it
goes even beyond that. And this is an
issue of contention of law that they
raised in their reply that we haven't had
an opportunity to deal with yet. The law
of exclusions, for example, is not some
causal relation Whether it's got arising
out of language or not. The law of
causation in the context of an exclusion
is is it the dominant and efficient cause

of the loss. lt is a very high threshold

1228

PROCEED|NGS
And the cases that they've cited for the
notion that it's oh, it's a much lower
standard and the law on exclusions goes
back forever and it continues to get
reaermed to this day, but the game that
they're playing with, the case arises out
of, there are a ton of cases that talk
about in an exclusion that uses the
language arises out of, that that
language, arises out of, should be
interpreted broadly to capture all conduct
within that exclusion And l agree with
the cases that they've cited for that
proposition but it's the scope of the
exclusion, but it doesn't change the
causation requirement that exists for the
exclusion, and that being, once you've
pulled whatever belongs in under an
exclusion that is broadly interpreted
because it's got arising out of language,
once you've determined that conduct the
included within the exclusion, for sake of
argument, say, the repurchase is broadly

interpreted to be within a particular

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PAGE 395

Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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exclusion, fraudulent conduct exclusion,
3A, l believe it is in the policy, then
the standard remains the same. ls it the
dominant and echient cause of the loss?

So that's the causation standard
that we deal with here and the way they've
tried to shape that standard differently.
They have to shape it differently because
their experts came into this room and
Mr. Burke testified it's a coin flip.
lt's a 50/50 proposition under the generic
strategy. And then he also said that he
can't calculate the wild card that is the
fact that this was a temp|ate and was mass
marketed, but he knows that's a negative
And Linda Burkel she's pretty close to
taking them out of the dominant and
efncient clause standard l'm just
relying on their experts here. Linda
Burke was in that 30 to 40 percent range,
but look at all the things that she
disagreed with and that l think the panel
could disagree with the things that she

disagreed with Mr. Burke on Remember she

1230

PROCEED|NGS
said tax court, l don't see that as a
negative KPMG press, claim eight, l
don't see that as a negative. Mass
marketing, l don't see that as a negative.
So she had all these negatives that l
think the panel has sufficient evidence of
in front of it to conclude that her 30,
40 percent needs to be discounted
significantly beyond that.

One thing that is l think most
telling about this case is that the
strongest opinion that they could get
about the generic strategyl using that
term loosely, near as l can tell, is it‘s
a coin flip and there's another wild card
discounting element that comes into it
and --

MR. MOXLEY: But, excuse me, but
don't we have to work through all that and
isn't what it comes down to for us to make
an evaluation as to whether the generic
deal would or would not have passed tax
muster, we're assuming the consummated

deal would not and did not, so the
1231

Page 1228 - 1231

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.lllZ Page 33 0f47

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question is would it have made any
difference if Upper Deck had proceeded
pursuant to the generic deal?

MR. HOWELL: And lthinkthat's a
big part of what you need to do and what
l'm trying to do is beyond that and tell
you that the evidence in front of you, l
think, is in large part uncontradicted and
when you look at the settlement history
that exists out there and the treatment of
all 58 and the same deal in Burke, both
Burkes agree that all 58 are being treated
the same, they're not getting offered
better or worse deals and the information
you have coming before you in this court
or in this arbitration is that people in
overwhelming numbers are taking that deal
and what do we know beyond that from that
chart that was produced to us by AlSLlC in
this case is that when they initially came
in here and testified They said we've
got two other generic deals that we've --
and they didn't tell us at the time that

they had paid policy limits or paid

1232

PROCEEDlNGS

anything on it. There's two other general
deals and the general deals should be
litigated

But what do we know of the four
deals? When we finally get some glimpse
into the claims files. We know that of
the three of the four deals have been
settled Two of the dea|s, deals they
initially said were generic dea|s, they
paid policy limits on. Doesn‘t sound like
a confidence that it's a real winning
strategy and it's not 500 or $600,000. l
think it's $6 million? One case. And
maybe $20 million -- l might have those
numbers wrong --in another case. This is
AlSLlC paying policy limits on what they
call the generic deal and then when we
look at those deals, they‘re not generic
at a||. They're negotiated deals. The
price was negotiated That's what they
put in the form or the chart that they've
given you and this speaksl in my mind, to
the bad faith issue, but in terms of

looking at all that is there in front of

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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you, look at where their starting point
is. lt's at a coin flip that gets
discounted from there. That's really the
best they could come up with and then look
at all the surrounding circumstances and
evidence that you have. What's happening
really out in the field with settlements?
What‘s happening with otherAlSLlC
policyholders? WhatA|SLlC is doing in
other cases.

Both Burkes agreed how the lRS
handled these things. Both Burkes agree
there really isn‘t an opportunity to do
any deal better than the deal that Upper
Deck got and if the repurchase doesn't
happen and we do the deal exactly as
AlSLlC has presented we should have done
it in this case and we interpreted the
policy exactly the same way, where are we
going to be under those circumstances? We
are going to be in a situation that,
according to Robert Burke, is no better
than a coin flip. We are going to face

the prospect of extensive costs going

1234

PROCEEDlNGS
forward and we face the genuine risk of a
loss of S status and a lot of S status for
Upper Deck is double taxation
effectively, and it's not just for the two
years in question lt is 2001, 2002 and
it will carry fonlvard another three years
This is a hammer that you're not talking
about a thumb that swells up and is red
and you get a broken fingernail or a
bruised fingernail. This is the kind of
risk even if you accept that that risk is
much less than 50/50 on losing S status,
because l don't think anybody said that's
a 50/50 proposition not even our experts,
but that is a hell cf a hammer to have
hanging over your head and it's a bet to
the company, the kind of proposition and
that's why that's another practical reason
for asking yourself where this thing is
independent of any repurchase where are
we going to find ourselves? We're going
to find ourselves in the same situation
that they've handled their other

policyholders The other ones who didn't
1235

Page 1232 - 1235

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.1113 Page 34 0f47

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upper deck-aig arb

PROCEED|NGS
follow the put procedure And we know
that now that they've produced that.

MR. MOXLEY: ButI excuse me, but
don't they then have the option of funding
the contest costs and litigating the
matter if it's generic deal and if their
advice is that it's worth litigating it,
putting aside the fact that Upper Deck's
losses were so much greater than the
policy limits, so you had the risk of A-
the risk inherent in that situation but
in this other situation in the chart,
could go litigate the situation right?

MR. HOWELL: And l'm not suggesting
that they can't go litigate the deal.

What l'm suggesting is that they are not
litigating the deal and they are not
litigating the deal whether they call the
generic or whether they call it negotiated
and the reason they're not litigating it

is because they don't believe the position
they've put in front of you here, ie, this

is a winnable strategy that we want to

litigate

1236

PROCEED|NGS

And l want to point out the one
party that hasn’t settled, Award Homes who
initially was presented as they want to
litigate, they want to have at it, Award
Homes looks more like they wanted to crawl
under a rock. They didn't take the
amnesty and they got identiHed anyway.
And so Award Homes has a whole different
layer of analysis that it has go through
as to whether the settlement is a good
deal because they don't get the deal that
Upper Deck got. They’re being proposed a
different deal that has penalties and
that's the one aspect of the settlement
that l think the evidence is without
contradiction can be negotiated and that
explains, in my mind, why Award Homes is
the one party of what l'll call the AlG
family of four that haven't taken the
exact same deal that Upper Deck does.

MR. MOXLEY: And all the others have
settled?

MR. HOWELL: All the others have

settled on the exact terms and it looks

1237

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

PROCEED|NGS
fike based on -- remember lVlr. Burke said l
know a lawyer who's handling 35 of them or
so and he told me seven or eight of them
still intend to litigate which means
80 percent of them have taken the deal? l
don't know what the circumstances are of
the seven or eight, but it tells you a lot
about the real underlying confidence that
anyone has, including AlSL|C, about really
litigating this strategy.

CHA|RMAN BYRNE: lt is irrelevant
Counsel. Tell me why anybody's confidence
in litigating it-- l'm sorry, Charles.

MR. MOXLEY: No.

CHA|RMAN BYRNE: But tell me why,
explain to me why l should care because
you want us to take a real look at this,
at what really is going on here? What's
really going on here is this is the
highest policy limit that AlSLlC wrote,
okay? One, Twol it's the biggest risk
they took. Whether they thought it would
work or notl what their intent was, a

decision was made that the risk was worth

1238

PROCEEDlNGS
taking, from your point of view. They
took it and lost $66 million

MR. HOWELL: Eighty.

CHA|RMAN BYRNE: l'm sorry, 80.
Didn't mean to minimize it, Mr. McWilliam

MR. MCW|LL|AM: At this date, it's
over 100.

CHA|RMAN BYRNE: And it's mounting,
all right.

And in its simplest term, you shared
the risk. The parties attempted to share
the risk by the purchase of insurance
The risk was realized. Share the risks.
Bottom line of what all of this has been
about to the unsophisticated

l‘ve got claimant saying look,
that's not the risk l shared l shared
the risk of a transaction that no matter
what it was, followed the essential
guidelines of the strategy set out when l
wrote the insurance and l relied on it.
This is all before the notice came out,
'02 the notice came out, We all know

about it. Strategy was exposed And from
1239

Page 1236 - 1239

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.1114 Page 35 0f47

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upper deck-aig arb

PROCEED|NGS

'02 until -- early '02 until sometime 18
to 24 months later, the claim is l didn't
know what you were doing, ljust didn't
know what you were doing. That's one
side

You're asking me -~ that risk,
taking the risk was not solely in your
control. l had something to say about it
because l agreed to share lt. Your point
of view is hey, a risk is a risk. A risk
is from the tax shelter. A risk is a risk
of loss because of a taxable event. The
lRS looking into the tax shelter was a
taxable event. Whatever. l'm getting
killed here Theiig's up. lcan't
shelter income lt was a nice deal. lt
was perfectly reasonable to pay 2 instead
of 11 from your point of view. Why pay an
additional 9 when l'm going to have to pay
an additional God knows how much to a
charity, when l have to pay an additional
God knows how much to the lRS because l‘ve
got to amend '01 and '02. So whether it's

2 or 9, whether the difference is between

1240

PROCEED|NGS

$2 million and $11 million, whatever l
paid, lwas going to get a loss. And
didn't we share the risk of loss in my
attempting to shelter income? isn‘t that
why l bought the policy? Why are you
giving me a hard time? l got a loss.
Here it is. Do it. And forget the
exclusion ' The exclusions come in in
justifying the positions that were, in
fact, taken Didn't give me proper notice
ofa claim, you didn't let me participate
in the defense, you didn't let me know
what was going on you misrepresented what
you were going do and the proof is in the
pudding. You did something different
Why aren't you focused on that?

MR. HOWELL: My focus is on that we
didn't do anything different and l've --

CHA|RMAN BYRNE: That's okay. i'll
give you that. l‘|| give you that.

|VlR. HOWELL: And beyond that and the
issue of -- you brought up the issue of
notice When we had to make our

disclosures to the federal government, we

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

PROCEED|NGS

got a letter from KPMG who said you might
want to consider making this disclosure
and the letter, it's marked as an exhibit,
said contact your insurance carrier about
this as well. That didn't happen with
respect to the repurchase

Now, beyond that, there was no
obligation to give them notice of the
repurchase just like if we had gotten a
$2 million offer under the right ofnrst
refusal, section two of the policy, and we
said -- and somebody comes in to them and
says we want $2 million and they say we
want to take it. We could have said let's
do it. lt would have been accepted The
shareholder's agreement would have
terminated on its face. This could have
all happened in December of '02 and there
is no notice requirement to the insurance
company.

CHA|RMAN BYRNE: Bottom line

MR. HOWELL: lt's not something we
agreed to.

CHA|RMAN BYRNE: Bottom line is what

1242

PROCEED|NGS

happened is the basic premise of your
argument that what was, in fact, done in
December of 2002 was not prohibited by the
policy? Might have been different, but it
wasn't prohibited

MR. HOWELL: Was not prohibited and
even if you can somehow assume that it
was, it doesn't have the requisite
causative effect in order to take us
outside cf coverage There is still --

CHA|RMAN BYRNE: Stay there

MR. HOWELL: There is still the
causation requirement.

CHA|RMAN BYRNE: Stay there Stay
there

Does that mean that the tax payer,
the insured could do whatever it wanted
and not get out from under the terms of
the policy or the exclusions? Or it's
just that what this insured did did not
get us out from under the terms and
conditions of the policy? l'll give you
an example

What if Mr. McWilliam said screw
1243

Page 1240 ~ 1243

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.lllB Page 36 0f47

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upper deck-aig arb

PROCEED|NGS
this. l'm not paying them a nickel more
than $500,000. They've got no choice
They can't go anywhere l'm wasting money
on accountants, lawyers, advisors. Zippo.
l'm giving them $500,000, take it or leave
it. Would your analysis be any different?

MR. HOWELL: lVly analysis in terms of
what the policy requires and doesn't
require would not change at a||.
insurance carriers, if they want to impose
a fair market valuation requirement, they
need to draft it as an exclusion or a
warranty. And they didn't. They're
asking you to assume that it's there And
carriers don't get --

CHA|RMAN BYRNE: No. what they're
asking us to do is assume that when you
incorporate by reference opinions and
blah, blah, blah, blah, blah, blah,
there‘s what they're going to argue

MR. HOWELL: But it doesn’t say that
and there's nothing in the opinion

CHA|RMAN BYRNE: l'm not saying it

says it, l'm just saying l know what

1244

PROCEEDlNGS
they're going to argue

MR. HOWELL: lt's not in the
opinions either, though.

CHAlRMAN BYRNE: l didn't say it
was. There's a step here. The step is
this is what the shareholder's agreement
said This is what the shareholder
agreement is annexed thereto. And they
can argue that until the cows come home
l'm trying to understand your position

MR. HOWELL: The other way to look
at it is we've only looked at it on the
front end The put option has this
lifespan of 180 days.

CHA|RMAN BYRNE: lwamed you.

MR. HOWELL: What if we go to the
other side of it?

CHAlRMAN BYRNE: No. No. No.

MR. HOWELL: Where it's not
exercised?

CHA|RMAN BYRNE: No. No. No.
Don't go there You may not argue any
more about the put option, shareholder

agreement, corporate law, et cetera, all

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right? You've highlighted to us that
you're going to give us the law with
respect to exclusions and we know you have
before and we know you're going to argue
it. You don't to have do it now,

l will tell you that in the next ten
minutes, and l know we interrupted you,
but -- by pulling teeth sometimes -- but
we got certain specific answers to
specific questions that we're asking of
you, okay? And again, we're asking them
for a purpose Spend ten minutes on good
faith.

MR. HOWELL: Okay, let me give one
more example about something different and
l think Mr. Wahlquist is going to address
the law of good faith with you. l'm happy
to discuss the facts of it because l want
to do that, but in terms of the
repurchase, l've used this smoking example
and another smoking example is the house
is on nre, it's burning and if l'm
running out the door and | drop a

cigarette that's not the cause of the

1246

PROCEED|NGS
loss and it‘s just a different way of
addressing this causation requirement

CHA|RMAN BYRNE: Gotit.

MR. HOWELL: And what the experts
said about it.

CHA|RMAN BYRNE: Got it.

MR. HOWELL: Before.

CHA|RMAN BYRNE: And don't think we
are relying on the opinion of any expert

MR. HOWELL: Okay. l do want to
talk about fair market value for a second

CHA|RMAN BYRNE: NO.

MR. HOWELL: No?

CHAlRMAN BYRNE: You've already
talked about it for more than 35 minutes.
Rough calculation

MR. HOWELL: ljust meant in terms
of the valuation itself.

CHAlRMAN BYRNE: Move on. Good
faith.

MR. HOWELL: Okay.

CHAlRMAN BYRNE: Because here's what
we're having a hard time understanding:

lf they're right -- they -- if claimant's
1247

Page 1244 - 1247

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.1116 Page 37 0f47

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upper deck-aig arb

PROCEED|NGS
right, that there was a chance out there
that might have worked with them, at least
with respect to defense costs, et cetera,
what the hell took you so long? What took
you so long? You did the deal in '02, all
right? December 0f'02. Why didn'tyou
talk to the insurance company before you
did the deal to make sure, prudence in
good faith, show me, get good faith, bad
faith in the context of what, in fact, was
done That's what l need you to focus on

MR. MOXLEY: Excuse me. Maybe the
way to put it, you answered a related
question earlier saying well, the policy
didn't require us to disclose, but l mean,

l think the Chair's question is one shared
certainly by this member of the panel is
well, why can't you tell us as a factual
matter, why you didn't tell them?

MR. HOWELL: ldon't think anybody
on this side of the table even thought it
was an issue. Just like it wouldn't be an
issue in a right of first refusal

situation This is not something that was

1248

PROCEED|NGS

deemed or characterized or referenced as a
policy obligation

MR. MOXLEY: But how could -- l
mean, your side must have talked to tax
people along the way, unless you're
telling me that they didn't. lf they
talked to tax people, how could it not
have been seen that it was relevantl that
there were arguments that quite obviously
can be made that it makes a difference?
Whether it does or not.

CHA|RMAN BYRNE: Mr. Wahlquist

MR. WAHLQU|ST: May l respond to
that?

CHA|RMAN BYRNE: Sure

MR. WAHLQU|ST: ln point of fact, if
you look at what happened here, Upper Deck
identined itself to the lRS and in the
summer of 2003, pursuant to that
notification the lRS sent their first lDR
in connection with it. Here's what we
want to know about the SC squared
transaction You know what's missing from

that lDR? Any requests for something

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

PROCEED|NGS
related to the 2002 transaction Or
anything pursuant to a repurchase of the
shares other than pursuant to the
redemption agreement, Nobody in AlG
dreamed this up in its imagination ever
thought that had anything to do with the
buyability of this tax plan. None.
CHA|RMAN BYRNE: Make sure you
underscore that in your brief.
lVlR. HOWELL: Underscore it where?
CHA|RMAN BYRNE: Make sure you
underscore it in your written submission
MR. KUSHNER: As well as the exhibit
number of the '03 lDR. l'd like that
read
CHA|RMAN BYRNE: Counsel, this is
our one chance to be our we wish of when
we were at the dinner table, people
actually listen to us. Okay? Go ahead
MR. HOWELL: From the standpoint on
this side of the table we did not
consider a requirement, we did not think
it important at the time and if somebody

wants to say with the benefit of three or

1250

PROCEED|NGS
four years of litigation hindsight, you
should have -- you should have or could
have handled it differently, the bottom
line is from a causation standpoint, what
difference does it make? Would the
insurance company have been justified at
that point in saying nol don't do the
$2 million, and then what different
position would that have put us in now?
lt would have put us right where we are
with what their other policyholders are
paying.

CHAlRMAN BYRNE: Flip side is you
might have had the benefit of this pane|'s
wisdom sometime in '04. On early ’05.
You don't think it‘s covered You think
this, that and the other thing. Nonsense.
l've got an arbitration clause l'm
bringing an arbitration

MR. HOWELL: Well, we brought the
arbitration quite some time ago. l think
this did get brought in '04, if l'm
correct, the initial filing, not with the

AAA, but there was not another federal
1251

Page 1248 - 1251

Case 3:05-0V-01945-|EG-RBB Document 35 Filed 04/09/07 PagelD.1117 Page 38 0f47

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upper deck-aig arb

PROCEED|NGS
court filing trying to frame these issuesl
so it's not as though the issue over
coverage, and rememberl too, they're not
taking a coverage position There is no
denial of coverage until July of '05. And
l want to address some of the facts
relating to bad faith because l think
Mr. Cotkin raised a couple of interesting
issues in this regard That you do look
for your carrier to be a protector and an
ally and what do we know about what
happened in this setting? Even before the
policy got issued, they‘re drafting
internal E-mail communications or they're
calling our attorney ajackass and saying
just quit dealing with him and then they
go on to say -- and they're questioning
why our CFO is leaving. They said, "Let's
just let it go. lf something did happen
and we can trace it back to him, it gives
our claims department a good position to
make some arguments Just some thoughts
Let me know what you want to do."

CHA|RMAN BYRNE: What's the date of

1252

PROCEED|NGS

that'.7

lVlR. HOWELL: August28, 2001.
That's the mindset that AlG brought to
this We have an issue now, let it go,
we'll raise it with claims later. And it
didn't take long for that same position
and that same conduct to manifest in the
context of this case First of all, we
all talk about the refusal to acknowledge
a claim. That no claim exists

Under the policy, claim is defined
as it means, "Any written notice from any
taxing authority alleging any insured may
be liable for taxes," and what do they do
after that? They write us over and over,
after the 2004 notice, they write, "We
refuse to acknowledge the existence of a
claim." As late as July of'05 -- let me
get the date on it-- l think March of
'05, they're still telling us they don't
agree any insured tax event has occurred
That's Exhibit 303 from Peabody & Arnold
July 29, 2005. They're denying the

existence of even an insured tax event, l

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PAGE 930

Nov 2 arb hearing 11/2/2006 10:04;00 AlVl

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showed you what that definition is at the
outset here What we encountered --

CHA|RMAN BYRNE: While you're there,
what do you considerto be the notice, the
2002 request for information the world is
on notice that we have trouble with these
transactions or the '04 notice?

MR. HOWELL: The first one that says
disclose is arguably a notice, but once
you get to 2004-30, in all of the notices
that followed that thereafter and all of
the audit notices we get thereafter were
clearly on what we clearly have a claim.
And another thingl the reason it's
arguably a claim in the nrst place is
because once you voluntarily disclose
yourself and identify yourself, you've
just guaranteed an audit. Everybody knows
that and that is without contradiction in
these proceedings So you can talk about
having an ally and we're not giving them
information We are getting kicked in the
teeth over an issue of whether an insured

tax event exists, whether a claim even

1254

PROCEED|NGS
exists and then what happens when they
nrst Hnd out about our having an income
spiking over $50 million? They go
straight to Tiger Woods and start -- and
it's in the letters that they wrote --
talking about how they didn't get enough
information on Tiger Woods and that the
Tiger Woods` endorsement contract should
have been referenced in the FMV opinion
You know why they were raising it at that
time? Because they were assuming that the
spiking in revenue was attributable to
Tiger Woods We didn’t have a deal with
Tiger Woods when the FMV opinion was done,
and guess what? Tiger Woods is littered
in the references in the underwriting nle
that we told them. Marsh wrote them a
letter the day before the policy was
issued spelling out Tiger, how it's not
included in the FMV opinion They spoke
directly to FMV about Tiger Woods and what
happened? As soon as this dispute
manifested, they start writing us about

Tiger Woods and they should have been in
1255

Page 1252 - 1255

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1118 Page 39 0f47

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the FMV opinion When they figure out
that it's not Tiger Woods that is
producing this revenue they immediately
go to Yugio, and Yugio is an even more
specious argument than the Tiger Woods
argument, and let me explain why Yugio is
more specious than the Tiger Woods
argument.

Yugio is an agreement that was
entered into, the first binding letter of
intent with Yugio was entered into in the
spring of 2002. Eight or nine months
after this policy was bound We had
negotiations with Yugio prior to that. As
did our competitors We didn't have any
certainty with Yugio and we certainly had
no knowledge that Yugio would produce what
l would call this phenomenal burst of
revenue at the end of '02, 15 months after
the policy is bound but we have sat in
here and they have alleged we were misled
as to the quantum of risk regarding Yugio
and they have made these arguments when

there is absolutely no basis whatsoever.

1256

PROCEED|NGS

CHA|RMAN BYRNE: Well, let's see
based on everything that's happened,
whether that continues because l think the
basic argument is you knew or should have
known with respect to the projections and
your basic argument is we couldn't have
known or should have known with respect to
the projections at any relevant time
period and the projections go to the
extent of damage not the existence of
coverage; isn‘t that a kind of pointed way
of putting that?

MR. HOWELL: lt is except --

CHAlRMAN BYRNE: lt also goes to
fair market value, which you've already
covered

MR. HOWELL: And it also goes to bad
faith. Yugio is a deal.

CHA|RMAN BYRNE: No, no, no. What
was the bad faith? ,

MR. HOWELL: Raising specious
coverage defenses

CHA|RMAN BYRNE: When?

MR. HOWELL: Well l'll read you what

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Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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they put in their brief.

CHA|RMAN BYRNE: No. you cannot tell
me ~- no, as a matter cf law, allegations
and defenses raised in a legal proceeding
like an arbitration will not be used as
evidence of bad faith. You want to tell
me they hounded you for that information
before the arbitration? Go for it. But
don't tell me what they said in their
brief. That's the only reason l stopped
you.

MR. HOWELL: lwas, for example,
also going to tell what you they said in
these proceedings too, about being misled
about the quantum of risk. We heard Yugio
in testimony in this case and it's in
their coverage letters leading up to this
that we were misled about the quantum of
risk, about Yugio, you knew about Yugio or
you didn't tell us about Yugio. The FMV
opinion by the way, talks about Pokemon,
talks about negotiating entertainment
licenses and the letter that was sent from

Marsh the day before the policy was bound

1258

PROCEEDlNGS
said the FMV opinion doesn't include
unsigned entertainment or sports
contracts lt's notin there They had
all this information They had all these
disclosures

CHA|RMAN BYRNE: So they weren't
misled

MR. HOWELL: They were not misled,
but nevertheless --

CHA|RMAN BYRNE: They had an
accurate picture of-- an accurate
snapshot of the company at the time, past
present and future at the time the
coverage was issued

MR. HOWELL: And the Yugio
projections that got referenced those
Yugio projections, first of all, they are
just that. The company is playing with
cost numbers and trying to figure out what
we can do, but beyond that ~

CHA|RMAN BYRNE: lsaid to you at
the time l'll take a look at the
Enancials if they‘re in evidence and what

actually happens is more important than
1259

Page 1256 - 1259 '

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.lllQ Page 40 0f47

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what is projected to happen

MR. HOWELL: And the projections are
nowhere close to what was actually
realized Yugio and the notion that we
knew about Yugio -- Yugio was a popular
Japanese cartoon

CHA|RMAN BYRNE: Don't remind me

MR. HOWELL: That was brought here
Upper Deck was on the ground floor.
Nobody knew that Yugio was going to take
off the way that it did Nobody. Not
Upper Deck.

CHA|RMAN BYRNE: My nieces and
nephews obviously did or they wouldn't
have been lined outside the stores. Move
on.

How is that bad faith? Are you
arguing that to the extent it was raised
in the dance it was a specious argument
all the way through to its being used at
the time of the denial of coverage in July
'05?

MR. HOWELL: Yes.

CHA|RMAN BYRNE: That's the number?

1260

PROCEED|NGS

MR. HOWELL: Yes.

CHA|RMAN BYRNE: And you're going to
give us California law up the whazoo and
the basis for applying California law on
this issue as opposed to New York law
on -- l'm not saying you haven't done it
alreadyl but as opposed to New York law
with respect to the policy and how you
interpret the policy and there within
right?

MR. HOWELL: Correct.

CHAlRMAN BYRNE: You've got 30
seconds Take your best shot.

lVlR. HOWELL: Do you want to do
the -~

MR. WAHLQU|ST: Yeah, l'm happy to
do the best l can in 30 seconds

California law in general recognizes
that asserting a frivolous interpretation
of a policy provision can be an act of bad
faith giving rise to tort liability.

California law recognizes that asserting a
coverage defense or a coverage

interpretation based on facts that you

1261

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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have no reasonable basis for believing,
not only is bad faith, it can give rise to
punitive damages

CHA|RMAN BYRNE: Okay.

MR. WAHLQUIST: And in a nutshell,
that's California law.

CHA|RMAN BYRNE: Then make sure you
summarize the facts relied on that lead
one to conclude A, the California law
applies; B, that under this marling of the
facts we have here, it should be applied,
okay? With the citation of cases

' MR. wAHLouisT: okay.

CHA|RMAN BYRNE: You now have 30
seconds to give me your best shot.

MR. HOWELL: Free range?

CHA|RMAN BYRNE: Anything. On
anything. Because that's the last 30
seconds you have

MR. HOWELL: At the end of the day,
we paid $3.25 million which AlG gladly
accepted, to get very specific and direct
benefits which we've talked about. The

specific risks that we insured against

1262

PROCEED|NGS

manifested and it manifested in spades
long before we did anything in connection
with the repurchase and you can look at
how that risk has manifested across the
board and you can look at the cases and
the underlying law and you can see that
the repurchase no matter how it's
characterized is of no consequence to
where the parties stand today vis-a-vis
the lRS with a settlement or anything
else

CHAlRMAN BYRNE: including with
respect to the price of the repurchase
price for the repurchase

MR. HOWELL: including with respect
to the price because the strategy as
designed stripped all the benefits of
shareholdership and the only benent you
got was you get 90 percent of the income
allocation and you get somewhere between 4
and 5 percent of the company valuation at
the end of the day. That's as designed
That's the generic strategy that existed

That is a fundamental flaw with this
1263

Page 1260 - 1263

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llZO Page410f47

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policy. That combined with the fact that
it's a situation where in order to make a
$1.38 million donation and that's the
economic substance that exists when the
transaction is done, that's why you get
the fair market valuation opinion when you
make the donation that in order to make
this $1.38 million deduction what had to
happen? You had to pay almost $600,000 to
KPMG, you paid $3.25 million for
insurance you've got the associated other
costs and from the standpoint of
undermining this strategy, that's
something that the lRS, that's the generic
strategy, will not find acceptable
You're spending millions of dollars to
make a $1.38 million donation That's the
form over substance

CHAlRMAN BYRNE: Got it, l'm going
to stop you there

One thing l want each side to argue
and on each side of the equation and it
has a little to do with equity, just a

little the argument that if what

1264

PROCEEDlNGS

respondent is saying is true on the legal

side in terms of coverage and what was
covered and what was intended and there
was a tax event, whatever, all the
conditions of the policy were either met
or not excluded, respondents couldn't
lose lf 3.25 might be a small price to
pay, 3.25 plus whatever you gave to the
charity may be a small price to pay for
successfully sheltering 90 percenth what
otherwise would be income through a
charitable organization for as long as you
could, and if you couldn't do it anymore,
or had to undo it, $3 million was cheaper
to get $50 million of whatever it cost you
absorbed by the insurance company. lt’s a
basic "equitable" argument,

Your side of the argument is that's
not what the insurance for, all of the -~
it's not cheap, you didn't know what the
exposure was going to be, you assumed
cooperation whatever you want to say.

And claimant's going to say well, l

know the Chair didn't mean to put it this

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PAGE 335

Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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way, but he's right, if you buy
respondent's argument, the insurance was a
safeguard lt was gambling with my money.
And he thought there was no risk. All
right. $3 million was not a lot to pay if
you were able to shelter a gagi||ion
dollars for as long as it took can and if
you weren't able to shelter anything,
ultimately, if the lRS made a claim for
the income you tried to shelter, l got to
step up to the table for $50 million lf
they're right. l mean, it's a kind of
straight line argument.

Question; Are you also going to
argue illusory insurance?

MR. WAHLQUlST: No.

CHAlRMAN BYRNE: Have you determined
whether or not the factual basis exists in
terms of the bills or what was paid to
your need to supplement the record to make
a demand for defense costs?

MR. WAHLQU|ST: Well, it is pled
Let me say that.

CHAlRMAN BYRNE: l'm going to, you

1266

PROCEED|NGS
know, l'm going to conform.

|VlR. WAHLQU|ST: What's missing is
the DeCastro bills. l don't have the
DeCastro bil|s.

CHA|RMAN BYRNE: l'm just
separating

|VlR. KUSHNER: That's an important
statement now, We’re talking about the
DeCastro bills. We're not talking about
Orrick bills.

CHA|RMAN BYRNE: ljust-- that's my
point. lwant to know if you're going to
make a claim and if so -- for contest
costs, and if so, based on what bills or
documentary information or whatever eise,
so l think the answer is yes, l want to
make the claim for contest costs, B, the
record as it exists now does not quantify
what l'm asking for.

MR. WAHLQUIST: Well, only to some
degree l'd like leave to submit the
DeCastro bills, but --

CHA|RMAN BYRNE: By when?

MR. WAHLQUlST: How fast can l get

1267

Page 1264 - 1267

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.llZl Page 42 0f47

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them?

MR. MCWlLLlAM: Wednesday next week.

MR. WAHLQU|ST: End of next week.
Leave me some time

CHA|RMAN BYRNE: All right, listen

to me ltell what you l'm going to do.
We are getting the exhibits sent to us the
10, With an index. Both sides are going
to have the index of what was sent to us.
Same time, 11-10, okay?

MR. KUSHNER: To be received or sent
by the 10.

CHAlRMAN BYRNE: They have to be
sent 11-10.

MR. KUSHNER: Okay.

CHAlRMAN BYRNE: Okay, but you guys
can E-mail them. You know. The list.
Here's what we're sending to the
arbitrators l'm going to give you until
11-17 to make application to the panel to
expand the evidentiary record with
whatever documentary exhibits are attached
to your application or included with your

application and why. Okay? Fair’?

1268

PROCEED|NGS

MR. WAHLQU|ST; That was the 7 you
said, right?

CHA|RMAN BYRNE: l'm sorry?

MR. WAHLQU|ST: l'm sorry, did you
say the 7?

CHA|RMAN BYRNE: l said the 17.

MR. WAHLQU|ST: Wonderful, okay.

CHA|RMAN BYRNE: 11~10 or so you're
going to get the index of what we're
getting.

By 11-17, either side can make
application for such and such. You will
get a ruling promptly and well before you
have to do your final submissions l want
no commentary or opposition to the
application lf l want opposition or l
have a question or Mr. Moxley has a
question, we will say to each of you why
are you asking for this? We don't get
your explanation all right?

MR. KUSHNER: We're not making an
application We'll make life easier for
everyone We're not making an

application

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Nov 2 arb hearing 11/2/2006 10:04:00 AM

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CHA|RMAN BYRNE: l'mjust suggesting
that maybe you will. Even a careful
lawyer like you, Mr. Kushner, especially
with Mr. Stroili looking behind you is
going to say oh, damn it, this never made
it into the book. lt's not on the index.
We talked about it. Dear panel, whoops.
Never can tell.

MR. KUSHNER: lf we were that dumb,
we're not going to let you know that now,

CHA|RMAN BYRNE: lt has nothing to
do with being dumb. You‘re going to blame
it on a secretary anyway.

MR. KUSHNER: No, lwon‘t.
CHAlRMAN BYRNE: But you're not
going to blame it on Ms. Thompson That's

clear,
MR. HOWELL: l do have one question
because l'm a little bit confused about
the reference to an exhibit list. l
thought that the exhibits that had been
marked are deemed admitted into evidence
CHAlRMAN BYRNE: They are.
MR. HOWELL: See we can use all of

1270

PROCEED|NGS

those for purposes of briefing

CHA|RMAN BYRNE: Absolutely. What
l'm talking about exhibit, you will know
what made it into the exhibit binder that
is coming back to us. All of which has
been in evidence The exhibit list that
you can look at now or you don't to have
wait until 11-10. ljust figure you'll be
careful enough to do it and take a look at
it and see what it was and l'm giving you
a little bit more time You will take a
look and lwill give you the whoops
theory. lt never made it into or the
deliberate Your application could be our
understanding was you granted leave, here
are the bi||s, blah, blah, blah. lwill
then close the evidentiary record upon
receipt of and ruling on any such
applications soon thereafter. You'l| get
notice of that, lt's not going to stop
your final submissions from being received
at 12-1 and we will get you an award no
later than 1-19-07 per our prior

arrangements
1271

Page 1268 - 1271

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1122 Page 43 0f47

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Mr. Moxley, you have a question

MR. MOXLEY: l had two suggestions l
wanted to put out there as to matters that
counsel might want to consider and might
want to address in the later papers

One, looking at the arbitration
clause in the policy, paragraph 16,
there's a reference in there to the effect
that the policy shall be construed in the
manner most consistent with the relevant
termsl conditions, provisions or
exclusions of the policy without regard to
the authorship or the language and without
any presumption in favor of either party.

And l must confess, l hadn`t noticed
that language before l looked at it when
Mr. Howell was addressing choice of law
issues, or Mr. Wahlquist, so what's the
impact of that, if any?

And then secondly, in the choice of
law provision in the arbitration
provision as you've eluded to in the
earlier papers, it states that the

construction validity and performance of

1272

PROCEED|NGS
the policy shall be governed by the law of

-New York, and there have been some pretty

technical arguments made here as to the
precise way that courts have or have not
interpreted exclusions and representations
and warranties and so forth and my
question triggered by the Chairman's
reference to equity is what is the
parties' respective positions on the
extent to which on the one hand, the panel
should be addressing all these issues that
you're presenting to us technically under
applicable law as if we were a court as
opposed to picking up that other body of
law that you're aware exists that gives
arbitrators a range of equity and applying
practical wisdom as they see it and so
forth?

CHA|RMAN BYRNE: Don't spend a lot
of time on that because we -- nor does
Mr. Moxley suggest that you spend a lot of
time on that. We suggest that you address
it.

MR. MOXLEY: Tell us howl you know,

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EXHEB§T prA'" ,, PAGE 335

Nov 2 arb hearing 11/2/2006 10:04:00 AlVl

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what your positions are on that.

CHA|RMAN BYRNE: Just tell us what
your positions are so we can deal with it.
Respectfully, we probably know more about
our powers than you do.

MR. KUSHNER: lf l understand it,
correctly, all we have to do to the
exhibit list is add maybe two or three
exhibits at most, so l mean, we don't have
too much to do to tell you what is being
sent to you.

CHA|RMAN BYRNE: No, no. Absolutely
not. Absolutely notl Mr. Kushner. No we
don‘t. No we don‘t. And | really went
over that with Ms. Thompson off the
record You're good

MR. MOXLEY: (Nodding.)

CHA|RMAN BYRNE: Mr. Kramer has a
suggestion

MR. KRAMER: ljust wanted to
mention to Mr. Wahlquist in following up
on what the Chairman said about
underlining the initial lDR from lRS in

2003, not requesting anything about the

1274

PROCEED|NGS
December 2002 transaction if you're going
to address that issue, l'd like you to
address also the issue of why and how lRS
should have known about that December 2002
transaction or why and how lRS should have
known or might have known that a
transaction outside of the classic generic
802 occun'ed.

MR. WAHLQU|ST: l understand

MR. KUSHNER: The 2003 lDR is what
Ms. Burke referred to as a mandatory lDR.
lt had no mention of any 802 shelter
because it was not yet listed until April
of 2004.

MR. WAHLQU!ST: Exhibits 138 and 184
and 185 are drafted specifically with
reference to the notice 2002 disclosure

CHA|RMAN BYRNE: l still have plenty
of time to do this. You heard the
question Let me talk to your ina|
submissions themselves for two seconds

l rarely orthis panel will not tell
you how to do it. You have

extraordinarin competent counsel through
1275

Page 1272 - 1275

Case 3:05-cV-01945-lEG-RBB Document 35 Filed 04/09/07 PagelD.1123 Page 44 0f47

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this point. lf anything, you have written
too much. l have already suggested that
sometimes you pay attention to too many
trees and lose your focus on the forest

That being said, l want to remind
you that if you are using a case that you
have not given us already, give it to us
l am not adverse to your reinventing the
wheel if you're willing to and just give
us another copy of the cases you cite in
the brief, but l want to make it-- in
your closing submission but l want it to
be very, very clear that it is not
required by any means and l'm not even
suggesting it might be easier because an
old fogey like me are going to get
confused as to what binder he picks up
reading what document ljust mention it
because l'm not precluding your wanting to
do it if that's what would you normally
do.

When it comes to citing ~- l do not
want another copy or an appendix of

exhibits used in the brief, but l am not

1276

PROCEED|NGS

at all adverse to citations to the
exhibits or reference to the exhibits ln
the long run it saves you using a lot of
quotes from exhibits Just refer them to
us and we'll read them. Boy that sounds
familiar. You guys have heard that
somewhere along the line in these
proceedings

When it comes to transcript
testimony, one, l am not going to engage
in the "settlement of the transcript". lt
is what it is. l have yet -- either as a
litigator or as an arbitrator, l never
know what's better or worse, not citing a
transcript page and having an arbitrator
go through ten volumes of transcript and
not ever coming across what you said was
said and going off the wall or you're
citing to a transcript page and having an
arbitrator come to the conclusion that it
was taken out of context or that was not
said To me, they're equally bad. That
goes to citing a transcript or not citing

a transcript lt's a long way of saying l

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Nov 2 arb hearing 11/2/2006 10:04100 AlVl

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don't care Do what you are comfortable
with. Do what you find more persuasive
Do what your regular style and practice
is, okay?

Most important, everything we've
done throughout these proceedings l hope
you understand because it's true, when we
ask you questions or when we engage in a
give and take, it's in the nature of
argument and it's in the nature of helping
us understand lt also helps you focus
By doing that, at any given point in time,
we do not mean in any way to limit what
you wish to argue to us Just because we
didn't mention it in the last couple of
days, doesn't mean we don't expect to see
it, all right?

Also, we have never, ever intended
to, wanted to or in our opinion did, A,
cut you off from giving us any relevant
information giving us any relevant
evidence that you wished to give us or for
us to consider to the point, my point of

view as a pain in the tail Chair when it

1278

PROCEEDlNGS

comes to certain things to the point of
giving you additional time to expand the
record if -- for whatever reason And
when we have cut off what we believe to
have been relevant argument, you may have
believed was relevant argument, it was
more to tell that you that was not the
time or the place to do it. We weren't
cutting off your argument either. Nor
were we commenting on it. From our point
of view, we believe we were forcing to you
think and focus

And in that regard, if anyone has a
different opinion of what we were doing,
speak now or forever hold your peace
because l assure you that this panel will
give you additional hearing time and, for
that matter, we'll even give you
additional oral argument time if that's
what you wantl but l think we've all
agreed on inal written submission of
argument and that should suffice

l personally have rarely experienced

such a group of competent, skilled - more
1279

Page 1276 - 1279

Case 3:05-cV-01945-iEG-RBB Document 35 Filed 04709/07 PageiD.1124 Page 45 0f47

1 PROCEED|NGS

2 than competent -- skilled, experienced

3 understanding, patient, with it, get it,

4 well-prepared argumentative pains in the
5 `rearend advocates as l have had the

6 absolute pleasure of having appearing

7 before this panel of arbitrators nor have

8 l encountered skilled, knowledgeable and
9 experienced experience with respect to the
10 arbitration process or the respect that is
11 due to arbitrators or that has to be

12 earned by arbitrators before they get the
13 respect as we have experienced from the
14 men and women sitting around this table
15 With the sincerest of thanks on behalf of
16 the entire panel for the manner in which
17 you conduct yourseif.

18 The clients, you were

19 extraordinarily well represented l think
20 you know that. You saw them. You didn't
21 get a chance to see everything they've

22 done to this point because you probably
23 read most of it or at very least you've

24 heard one of the three of us complain

25 about it. You should be very proud of

1 PROCEEDlNGS

2 ‘your counsel and l know you are

3 We are honored to have had this

4 group of counsel appear in front of us and
5 l truly want to thank you most sincerely

6 from a panel that works pretty hard to

7 earn your respect and l want to thank

8 Mr. Moxley and Mr. Kramer for helping

9 Mr. Byrne and all three of us together to
10 fill the contract we made with you pretty
11 early on. We'll help you, l'll never

12 embarrass you and we'll run a fairly tight
13 ship. We do our homework. We'll earn
14 your respect. lwant to thank them, l

15 think, because the way we've been able to
16 cooperate as a panel has something to do
17 with the process as well, And it's rare

18 that a Chair gets to thank his other panel
19 members publiciy. Probabiy because most
20 Chairs then live to regret it somewhere
21 after, but l will take that chance

22 somewhere along the lines

23 With all of that said, there being
24 nothing else -» there are two matters
25 Sir.

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PAGE 337

Nov 2 arb hearing 11/2/2006 10;04:00 AlVl

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MR. STROlLl: ljust had a few
questions from before l had a question

CHA|RMAN BYRNE: Sure

MR. STROlLl: And ljust remembered
l had a question

CHA|RMAN BYRNE: Please.

MR. STROlLl: And l think l know the
answer. l take itfrcm what you've said
that the panel has not eliminated any of
the arguments on either side.

CHAlRMAN BYRNE: Not sorely. indeed
i will warn you as l think l did before in
one of the sessions -- this reminds me
read over what you heard from us during
the transcript Flip through it. Not
that there are any gems in there because
there are just as many stupid as
statements in there or dumb ass questions
that l at least have gone home and said
where was l going with that one? But in
some instances, l did make it very clear
that the award will --the award language
will start with as limited by their final

brief, claimant argues that, claimant asks

1282

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for, claimant whatever, okay? lt's a
standard arbitrators trick in drafting
these reasoned awards because there is,
therefore a document to which one not
necessarily in the record, that one can
actually point to and say, he said it was
limited to the brief, but not. lt's a
trick. Okay? Keep that in mind Your
final brief is limiting so the more --
whatever you address in there that's
hne. That's fine l expect you to.
Just because we didn't talk about it
didn't mean it's not important. lt may
just mean we understand it already and
expect to see it. We`re not sure of the
other stuff.

What was the second one, Peter?

MR. STROlLl: Second question, |
take it on the bad faith issue, we still
should address both New York and
California law or what we think
appropriate?

CHAlRMAN BYRNE: Well, New York is
going to be fairly easy. They know that,

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Page 1280 - 1283

Case 3:05-cV-01945-|EG-RBB Document 35 Filed 04/09/07 Page|D.1125 Page 46 0f47

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That's why it's without -- the burden‘s on
them. Focus on California law. Both
sides focus on California |aw. We kind of
know what New York law is. You may want
to say notwithstanding New York law and
you may want to say to get away from New
York |aw. Okay? lmean, there's a reason
why insurance -- it's like franchise
agreements, guys. There's a reason why
controlling law in insurance policies and
franchise agreements don't say Florida and
they don't say California. New York comes
up a |ot. And maybe there's a reason for
that, too, and you can argue that as well,
if you'd llke.

What else, Petei’?

lVlR. STROlLl: Nothing.

CHA|RMAN BYRNE: Sure?

MR. STROlLl: Positive.

CHA|RMAN BYRNE: Gentlemen, how can
we help you?

MR. HOWELL: That'sit.

CHAlRMAN BYRNE: Besides get you out

of here and get you on a flight home

1284

PROCEEDlNGS

MR. HOWELL: Okay.

CHA|RMAN BYRNE: Safe travels, all.

MR. HOWELL: Thank you.

CHA|RMAN BYRNE: lf you run ifinto
a problem with any of the scheduling for
whatever reason, for any reason, don't
wait until the last minute.

MR. HOWELL: Okay.

CHAlRMAN BYRNE: Let me now because
all you're going to do is put me in hot
water with the AAA for having expanded the
rules, okay? Please. Thanks.

MR. HOWELL: Thank you, all.

CHA|RMAN B¥RNE: We're adjourned.

Thank you very much Madame Reporter
for your services.

(Time noted: 4:29 p.m.)

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l, STACEY E. RA|KES, CSR, a Notary
Public within and for the State of New York, do
hereby certify that the within is a true and
accurate transcript of the proceedings taken on
November 2, 2006.

l further certify that l am not
related to any of the parties to this action by
blood or marriage; and that l arn in no way
interested in the outcome of this matter.

lN WlTNESS WHEREOF, l have hereunto
set my hand this 3rd day of November, 2006.

STACEY E. RA|KES, CSR

1286

Page 1284 - 1286

 

Case 3:05-cV-01945-|EG-RBB Document 35 Filed 04/09/07 Page|D.1126 Page 47 0f47

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